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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


   In re Flint Water Cases.               Judith E. Levy
                                          United States District Judge
   ________________________________/

   This Opinion and Order Relates
   To:

   16-10444

   ________________________________/

  OPINION AND ORDER GRANTING IN PART AND DENYING IN
     PART CLASS PLAINTIFFS’ MOTION TO CERTIFY CLASS
   [1207]; DENYING DEFENDANTS LAN’S AND VNA’S MOTIONS
   TO EXCLUDE THE EXPERT TESTIMONY AND REPORTS OF
   DR. LARRY RUSSELL [1382, 1388]; GRANTING IN PART AND
       DENYING IN PART DEFENDANTS LAN’S AND VNA’S
     MOTIONS TO EXCLUDE THE EXPERT TESTIMONY AND
       REPORTS OF DR. PAOLO GARDONI [1373, 1388]; AND
       DENYING AS MOOT DEFENDANTS LAN’S AND VNA’S
    MOTIONS TO EXCLUDE ALL OTHER EXPERT TESTIMONY
           AND REPORTS FOR THE PURPOSE OF CLASS
  CERTIFICATION [1371, 1372, 1374, 1376, 1377, 1378, 1379, 1380,
                     1381, 1383, 1384, 1385]

        Before the Court is Class Plaintiffs’ motion for class certification, in

  which they ask that the Court (1) certify, pursuant to Federal Rule of

  Civil Procedure 23(b)(2), (b)(3), and (c)(4), a “Master” Issues Class and

  four Subclasses: a VNA Issues Subclass, a Minors Damages and
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  Injunctive Subclass, a Residential Property Damages Subclass, and a

  Business Damages Subclass1; (2) appoint the named Plaintiffs as Class

  Representatives; (3) appoint, pursuant to Federal Rule of Civil Procedure

  23(g), Interim Co-Lead Class Counsel (“Class Counsel”) Theodore J.

  Leopold and Michael L. Pitt as Co-Lead Class Counsel; and (4) formally

  appoint, pursuant to Federal Rule Civil Procedure 23(g), Interim

  Executive Committee members Stephen E. Morrissey, Paul F. Novak,

  Esther Berezofsky, Peretz Bronstein, and Teresa A. Bingman to serve the

  Class. (ECF Nos. 1207, 1829.) Also before the Court are the Daubert

  motions filed by Defendants Veolia, LLC; Veolia, Inc.; and Veolia Water

  (collectively “VNA”) and Lockwood, Andrews & Newnam, PC; Lockwood

  Andrews & Newnam, Inc.; and the Leo A. Daly Company (collectively

  “LAN”) seeking to exclude the expert testimony and reports of all experts

  relied upon by Class Plaintiffs in their motion for class certification. (ECF

  Nos. 1371, 1372, 1373, 1374, 1376, 1377, 1378, 1379, 1380, 1381, 1382,

  1383, 1384, 1385, 1386, 1388.)




        1 Class Plaintiffs initially sought certification of three subclasses in their
  motion for class certification filed on July 16, 2020. (ECF No. 1207.) On June 14, 2021,
  Class Plaintiffs supplemented their motion with a request to additionally certify a
  proposed defendant-specific issues subclass. (ECF No. 1829.)
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        For the reasons below, Class Plaintiffs’ motion for class certification

  is GRANTED IN PART AND DENIED IN PART. The Court will not

  certify Class Plaintiffs’ proposed “Master” Issues Class and four

  Subclasses. But the Court will certify, pursuant to Federal Rule of Civil

  Procedure 23(c)(4), two issues classes—a Multi-Defendant Issues Class

  and a LAN Issues Class—and nine questions for issues-class treatment.

  The Court will appoint Rhonda Kelso, on behalf of herself and her minor

  child, K.E.K., as well as Barbara and Darrell Davis, as named

  representatives for the Issues Classes. Pursuant to Federal Rule of Civil

  Procedure 23(g), the Court will appoint Theodore J. Leopold and Michael

  L. Pitt as Co-Lead Class Counsel and will appoint Interim Executive

  Committee members Stephen E. Morrissey, Paul F. Novak, Esther

  Berezofsky, Peretz Bronstein, and Teresa A. Bingman to serve the Multi-

  Defendant and LAN Issues Classes as members of the Executive

  Committee. LAN’s and VNA’s Daubert motions seeking to exclude the

  expert testimony and reports of Dr. Larry Russell are DENIED, and

  those seeking to exclude the expert testimony and reports of Dr. Paolo

  Gardoni are GRANTED IN PART AND DENIED IN PART. The




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  remaining Daubert motions are DENIED AS MOOT. Defendants LAN

  and VNA may refile those motions, if needed, prior to trial.


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     I.      INTRODUCTION AND PROCEDURAL HISTORY

          Class Plaintiffs in this case are thousands of children, property

  owners, business owners, and other individuals who allege that they were

  exposed to lead and other contaminants from the City of Flint’s municipal

  water supply. Defendants in this case are two professional engineering

  firms that advised the City of Flint regarding its water supply at various

  points from 2011 through 2015. The events that resulted in the large-

  scale municipal water contamination of Flint, Michigan are now known

  as the Flint Water Crisis.2 In their lawsuits, putative class members




          2 Throughout this Opinion, the Court uses the term “the Crisis” or “the Flint

  Water Crisis” to refer to events that occurred after April 25, 2014, when the City of
  Flint began drawing water from the Flint River.
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  allege that Defendants caused, prolonged, concealed, ignored, and/or

  downplayed the risks of Class Plaintiffs’ exposure to the City’s water,

  which injured Class Plaintiffs and damaged their property and

  commercial interests.

        The Flint Water Cases have a complex procedural history. The

  cases fall into several broad categories, in both federal and state court,

  including individual cases, legionella cases, and putative class action

  cases initially filed in 2016—from which this request for class

  certification is an outgrowth. As the number of cases grew, the Court

  appointed Co-Liaison Counsel for the individual cases to coordinate

  between the various cases with individually represented counsel, and it

  appointed Interim Co-Lead Class Counsel to represent the interests of

  the putative class.

        The Court has adjudicated scores of motions to dismiss in the Flint

  Water Cases, has issued hundreds of opinions and orders, and is very

  familiar with the factual allegations and the applicable law. Many of its

  decisions have been appealed to the United States Court of Appeals for

  the Sixth Circuit and to the United States Supreme Court. This Court’s

  decisions have largely been upheld on appeal.


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        The Court has also managed extensive discovery in these cases.3

  Over the years, the Court has conducted conferences to adjudicate

  discovery disputes at least once per month and is therefore familiar with

  the development of the factual record in these cases. As Class Plaintiffs

  stated at one time, discovery “has been substantial[,] including millions

  of pages of document production and review, the exchange of substantive

  written interrogatories, more than eighty4 depositions, and extensive

  expert analysis.” (ECF No. 1318, PageID.40267.) In sum, the Flint Water

  Cases are abundant, complex, and have been intensely litigated for the

  last several years.

        Class Plaintiffs now seek certification of a “Master” Issues Class—

  as well as a VNA-specific Issues Subclass, a Damages and Injunctive

  Subclass consisting entirely of minors, and two separate Damages

  Subclasses consisting of residential property owners and business

  owners, respectively—to pursue joint claims of professional negligence

  against the two engineering firms they allege are liable for the injuries

  they suffered from the Flint Water Crisis. Class Plaintiffs initially sued


        3 The most recent case management order (“CMO”), the Fifth Amended Case

  Management Order, was issued by the Court on September 8, 2020. (ECF No. 1255.)
       4 As of November 17, 2020.

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  many individuals and entities, but this class certification motion involves

  only claims for professional negligence against LAN and VNA, two

  professional engineering firms, collectively referred to as “Defendants” or

  the “Engineering Defendants.”5 LAN performed work as a consultant

  related to the City’s transition to the Flint River and continued to advise

  the City on water quality issues during the Crisis. VNA also performed

  water consultancy work, but only after the transition and for a limited

  time (from early January 2015 to March 2015).

        Class Plaintiffs filed their motion for class certification on July 16,

  2020. (ECF No. 1207.) The Individual Plaintiffs not seeking to be

  represented by the Class, as well as Defendants LAN and VNA,

  responded in January 2021. (ECF Nos. 1392, 1369, 1390.) Class Plaintiffs

  replied on April 7, 2021. (ECF No. 1581.)




        5 In their motion for class certification, Class Plaintiffs initially named Rowe

  Professional Services Company as one of the Engineering Defendants, and they
  included liability claims against numerous government entities and individuals
  (collectively “Government Defendants”) alleging violations of the right to bodily
  integrity guaranteed by the Due Process Clause of the Fourteenth Amendment. (ECF
  No. 1207, PageID.34438.) But in light of the pending settlement proceedings
  involving these entities, (see ECF No. 1399), this Opinion and Order will address only
  Class Plaintiffs’ claims against LAN and VNA.
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        Class Plaintiffs rely on fourteen retained experts for their motion

  for class certification. Defendants LAN and VNA filed a combined total

  of fifteen Daubert motions seeking to exclude the testimony and reports

  of all of these experts. (ECF Nos. 1371, 1372, 1373, 1374, 1376, 1377,

  1378, 1379, 1380, 1381, 1382, 1383, 1384, 1385, 1388.) On May 19, 2021,

  the Court heard oral argument on the motions to exclude the testimony

  and reports of the two experts whose testimony impacts the pertinent

  liability portion of the class certification motion: Dr. Larry Russell and

  Dr. Paolo Gardoni. (ECF No. 1779.)

        On June 2, 2021, the Court held a hearing on the class certification

  motion via video teleconference. (ECF No. 1828.) The Honorable Joseph

  J. Farah of Genesee County Circuit Court was also in attendance. During

  the hearing, Class Plaintiffs’ counsel agreed that redefinition and

  clarification of the proposed “Master” Issues Class and four Subclasses

  was appropriate. (See id.; ECF No. 1811.) Accordingly, on June 4, 2021,

  the Court ordered Class Plaintiffs to submit amended class definitions,

  as well as to confirm whether they were seeking damages for a personal




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   injury class of adults.6 (Id.) On June 14, 2021, Class Plaintiffs submitted

   their updated class definitions and clarified that they were not seeking

   personal injury damages for adults. (ECF No. 1829.) VNA responded on

   June 28, 2021. (ECF No. 1854.) LAN did not respond. Class Plaintiffs

   replied on July 6, 2021. (ECF No. 1873.)

         For the reasons set forth below, the Court GRANTS IN PART AND

   DENIES IN PART Class Plaintiffs’ motion for class certification. The

   Court DENIES Defendants LAN’s and VNA’s motions to exclude the

   expert testimony and reports of Dr. Russell. The Court GRANTS IN

   PART AND DENIES IN PART LAN’s and VNA’s motions to exclude the

   expert testimony and reports of Dr. Gardoni. Finally, the Court DENIES

   AS MOOT the remaining Daubert motions, but Defendants LAN and

   VNA may refile those motions, if needed, prior to trial.




         6 This clarification was necessary because Class Plaintiffs included language

   in their motion for class certification implying that they were seeking personal injury
   damages for adults. For example, after defining the proposed “Master” Issues Class
   “pursuant to Federal Rules of Civil Procedure 23(b)(2), 23(b)(3), and 23(c)(4),” Class
   Plaintiffs stated that they “seek damages relating to Class members’ quality of life.”
   (ECF No. 1207, PageID.34418). The Court notes that class relief is available for adult
   personal injuries in the partial settlement agreement, (ECF No. 1319-1,
   PageID.40336–40337), which was negotiated by the same counsel and includes many
   of the same named Plaintiffs.
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      II.     BACKGROUND

            The background to the Flint Water Crisis has been set forth

   extensively in previous opinions issued by this Court. For the purpose of

   this Opinion and Order, the Court will first provide a general background

   of the events leading up to the Flint Water Crisis as laid out in a previous

   opinion and order issued in these cases. Second, the Court will discuss

   Engineering Defendants’ conduct specifically as it relates to the Crisis

   and Class Plaintiffs’ allegations regarding the harm done to them.

              A. General Background

            The background below is excerpted from the Court’s August 2019

   Opinion and Order Granting in Part and Denying in Part Plaintiffs’

   Motion for Leave to File an Amended Master Complaint and Granting in

   Part and Denying in Part Defendants’ Motions to Dismiss Plaintiffs’

   Amended Short-Form Complaints. See In re Flint Water Cases, No. 17-

   10342, 2019 WL 3530874 (E.D. Mich. Aug. 2, 2019) (hereinafter

   “Walters”).

            Flint’s water supply history. The City of Flint abuts the
            seventy-eight mile long Flint River. The City is one of the
            largest in Michigan and for much of the early twentieth
            century relied on the Flint River for its primary source of
            water. (Dkt. 185-2 at 74.) For this reason, the Flint Water
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         Treatment Plant (FWTP) was constructed in 1917 to treat the
         river’s raw water. The FWTP enabled the City to safely
         distribute Flint River water to residents for use and
         consumption. (Id.)

         Then, in 1964, the United States Geological Survey noted that
         the Flint River contained high levels of chloride. (Id.) Chloride
         reacts with trace metals found in river water to form certain
         salts, making the water corrosive and difficult to process. As
         a result of this problem and others, Flint eventually stopped
         drawing water from the Flint River. (Id.) Starting in 1967, the
         City began to purchase water under contract from the Detroit
         Water and Sewerage Department (DWSD). The DWSD water
         was drawn from Lake Huron and treated before delivery.
         There was therefore no need to treat it at the FWTP, and the
         facility was deactivated. (Id. at 74–75.)

         In addition to purchasing water for its own customers, Flint
         also resold DWSD water to the GCDC [Genesee County Drain
         Commissioner]. The GCDC was responsible for the water
         supply to several municipalities within Genesee County, and
         it resold the water to those customers. (Id. at 75.) In
         accordance with this transaction, Flint and the GCDC entered
         into a contract in 1973. Flint promised to supply the GCDC
         with a sufficient quantity of water to meet its needs, and the
         GCDC committed to buying water from Flint so long as it met
         all regulatory standards. This contract was updated in 2003
         and remained in effect leading up to the Crisis. (Id.)

         The formation of the Karegondi Water Authority. For decades,
         this arrangement posed no problems. (Id. at 27.) But
         beginning in the 1990s, Flint and other Genesee County
         communities began to grow concerned about the increasing

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         cost of DWSD’s water, and they commissioned studies to look
         at alternative sources. (Id. at 76.) The first of these was
         completed as early as 1992, but others followed. And more
         recently in 2009, LAN and Rowe completed a study which
         examined whether Flint and these communities should
         continue to buy water from DWSD, or whether they should
         construct a new pipeline to independently draw raw water
         from Lake Huron. (Id. at 76–77.)

         Later that year, Flint and these other Genesee County
         communities formed the KWA [Karegondi Water Authority]
         to explore the possibility of constructing a new Lake Huron
         pipeline. (Id. at 27.) The KWA pipeline was projected to cost
         approximately $300 million to construct. And for its part,
         Flint would pay $85 million of that total and service about one
         third of the debt. (Id. at 27–28.) In addition, it would require
         treatment before being distributed to customers, because the
         water pumped from Lake Huron would be raw. (Id. at 28.) The
         long-since dormant FWTP would therefore need to be
         reactivated and upgraded to meet modern regulatory
         standards. (Id. at 34.) If the pipeline were constructed
         successfully, the KWA would manage the supply of raw Lake
         Huron water to KWA member entities which would then be
         responsible for treating and distributing it.

         Committing to the KWA pipeline project. In 2011, a panel
         appointed by Governor [Richard] Snyder declared Flint to be
         in a state of financial emergency. As such, the panel
         recommended that an Emergency Manager be appointed to
         manage Flint’s finances. Emergency managers may be
         appointed by the Governor of Michigan “to address a financial
         emergency within that local government.” Mich. Comp. Laws
         § 141.1549(1). Pursuant to that recommendation, the

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         Governor appointed Edward Kurtz to the position. (Id. at 29.)
         This meant that Kurtz and his successors would “act for and
         in the place and stead of the governing body” of Flint. §
         141.1549(2). This gave Kurtz broad control over municipal
         policymaking, see id., subject only to the authority of Governor
         Snyder, see § 141.1549(3)(d), or the State Treasurer, see §
         141.1549(8).

         Consistent with his mandate, Kurtz began to evaluate the
         fiscal prudence of the KWA project. In November 2012, Kurtz
         wrote to the State Treasurer, Andrew Dillon, suggesting that
         Flint commit to the KWA pipeline because it would result in
         Flint saving money. (Dkt. 185-2 at 29.) This was an opinion
         shared by Jeffrey Wright, the Genesee County Drain
         Commissioner, CEO of the KWA, and a vocal opponent of the
         DWSD. (Id.)

         The DWSD disagreed with Kurtz’s evaluation. Throughout
         2012, it presented cost studies to Kurtz, Wright, Dillon, and
         the Governor that refuted Kurtz’s position. All of these studies
         demonstrated that from a cost and reliability standpoint,
         Flint was better off continuing to buy DWSD water rather
         than committing to the KWA pipeline. (Id.) Seeking
         additional input, Dillon commissioned an independent cost
         study. (Id. at 29–30.) In February 2013, this study concluded
         that it would be more economical for Flint to continue to
         purchase DWSD water on both a short and long-term basis.
         (Id. at 30.)

         Throughout 2013, Flint continued to negotiate with the
         DWSD while weighing the benefits of the KWA pipeline
         project. In April, the DWSD presented a proposal that
         purported to save the City twenty percent over a thirty-year

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         period when compared to the KWA project. (Id. at 31.) This
         offer even got the attention of senior state officials, including
         Dillon, who wondered why Flint would proceed with the KWA
         pipeline in the face of such savings. (Id. at 31–32.)

         Despite this, Flint continued to evaluate the KWA plan.
         Several KWA member communities had committed to the
         KWA pipeline by the spring of 2013. (Id. at 33.) But Wright
         believed that it would be difficult to finance the cost of the
         project without also obtaining Flint’s participation and
         financial support. Wright therefore turned his attention to
         securing Flint’s participation. He aggressively argued the
         case for Flint’s involvement in the KWA to senior government
         officials and to the media, and he refuted claims that staying
         with DWSD water would be the economical choice for Flint.
         (Id.)

         In March 2013, Dillon recommended to the Governor that
         Flint commit to the KWA project, despite Dillon recognizing
         that studies and the last DWSD proposal counseled against it
         from a cost perspective. (Id. at 30, 32–33.) In response, the
         Governor ordered the DWSD to submit a final proposal to
         continue as Flint’s water supplier. As directed, the DWSD
         issued this final offer in April 2013, which Flint rejected. (Id.
         at 34.) And the Governor authorized Kurtz to bind Flint to the
         KWA project. (Id. at 34–35.)

         Kurtz committed Flint to the KWA pipeline soon after. (Id. at
         80–81.) The DWSD attempted to get Flint to reconsider. But
         when Flint declined, the DWSD gave notice that it would
         terminate its contract with Flint, effective one year from that
         date, in April 2014. (Id. at 81.) After that time, if Flint wanted
         to purchase water from DWSD, it would have to do so under

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         more expensive non-contract prices.

         Devising the interim plan. The decision to commit to the KWA
         pipeline left Flint with a problem. The pipeline would not be
         ready until late 2016, maybe even early 2017 (id. at 35),
         meaning that Flint would have to identify an interim supply
         of water. It could continue to buy water from the DWSD on an
         ad-hoc basis at a non-contract price. (Id. at 137.)
         Alternatively, it could seek out a different source of water.

         In June 2013, Dillon, Kurtz, Wright, and Flint’s Mayor, Dayne
         Walling, devised a solution. (Id. at 36.) They decided to use
         the Flint River as an interim source of water rather than
         continuing to buy from the DWSD. A critical part of this
         interim plan was to shift funds that would have paid for the
         treated DWSD water to purchase the necessary upgrades for
         the FWTP in order for it to safely process the raw Flint River
         water. (Id.) The FWTP would need upgrading to process the
         water drawn from the eventual KWA pipeline from Lake
         Huron in any case, so this plan also served that wider
         purpose. However, the interim plan did not include a plan for
         how to implement the necessary FWTP upgrades and
         remediation. (Id. at 35–36.) These individuals knew that
         these details still needed to be worked out, as did the
         Governor. (Id.)

         At the same time, it was widely known that the Flint River
         had been evaluated and rejected as a possible water source on
         prior occasions. (Id. at 36.) As far back as 1964, concerns had
         been raised about the river’s chloride content. (Id. at 74.) And
         years of rock salt washing into the river from winter roads had
         exacerbated this problem, increasing the corrosive nature of
         the water. (Id. at 87.) In addition, a 2001 report by Michigan’s

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         Department of Natural Resources noted that factories along
         the Flint River discharged their industrial waste into the
         river. (Id. at 76.) Unsurprisingly, the United States Geological
         Society, the MDEQ [Michigan Department of Environmental
         Quality], and the Flint Water Utilities Department had all
         reported that “the Flint River was a highly sensitive drinking
         water source that was susceptible to contamination.” (Id.)

         ...

         Prior to the development of the interim plan, government
         officials had openly expressed concern about using the Flint
         River as a water source. [In 2011, LAN and Rowe additionally
         cautioned against it after the City hired them to advise on the
         subject.] In March 2013, Stephen Busch, an MDEQ District
         Supervisor, sent an email to MDEQ Director Daniel Wyant
         expressing concern that the Flint River would “[p]ose an
         increased microbial risk to public health[,] . . . an increased
         risk of disinfection by-product exposure . . . [, and] trigger
         additional regulatory requirements.” (Id. at 30–31.) He stated
         that the FWTP would require significant upgrades above and
         beyond those required to treat water drawn from Lake Huron.
         Busch recognized that any decision to use the Flint River as a
         water source would be primarily based on cost and not a
         scientific assessment of its suitability. (Id. at 32.) Using the
         Flint River as a water source presented a challenging
         proposition.

         Nonetheless, the interim plan was put into action as a cost-
         cutting measure when compared with purchasing DWSD
         water at a non-contract price. (Id. at 81.) The planned
         transition date was April 2014, set to coincide with the
         termination of the DWSD agreement. (Id. at 84.) The interim

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         plan did not apply to the remainder of Genesee County, which
         would continue to purchase DWSD water. (Id. at 40–41.)

         Transitioning to the Flint River. Shortly after the interim plan
         was devised, [the City re]hired LAN to provide advice on the
         transition to and use of the Flint River as a water source. (Id.
         at 81.) [City representatives, in conjunction with
         representatives from LAN, the GCDC, and MDEQ,
         determined that the Flint River was a viable water source;
         that any difficulties could be overcome; and that an April 2014
         timeframe was feasible for the switch.]

         ...

         As the April 2014 deadline approached, concerns began to
         surface about how ready the City was to begin drawing water
         from the Flint River. A senior official from the Governor’s
         office warned the Governor that the transition timeframe was
         too rushed and that there was a possibility of something going
         wrong. (Id. at 37–38.) Moreover, Michael Glasgow, Flint’s
         water treatment plant operator, informed the MDEQ that the
         FWTP was not fit to begin operations and that he was not
         ready to give his approval for it to begin active service. (Id. at
         38–39.)

         [Though the City was aware of potential corrosion issues
         during this time, no corrosion control measures were put in
         place to neutralize the chloride salts in the Flint River water.]

         With these concerns hanging over the transition, the City
         submitted its application for MDEQ approval to make the
         switch to the Flint River on March 31, 2014. (Id. at 138.) This
         application proposed various capital projects that would take

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         at least two months to complete. (Id. at 140.) But just nine
         days after it was submitted, MDEQ employee Patrick Cook
         approved it and gave the switch the green light. (Id. at 138.)
         Under the direction of Emergency Manager Earley, Flint
         water users began receiving the river’s water on April 25,
         2014. (Id. at 40.)

         Effect on Flint’s water infrastructure. Most of Flint’s water
         distribution pipelines are over seventy-five years old and
         constructed of cast iron.8 (Id. at 91.) Cast iron pipes are
         subject to internal corrosion, which causes buildup on the pipe
         interior, leading to water quality issues, reduced flow, and
         even leakage. This process also results in the development of
         biofilms—layers of bacteria that attach to the interior of the
         pipe wall. (Id.) At the time the FWTP began drawing water
         from the Flint River, it was corrosive due to the increased
         presence of chloride salts, and it was not being treated to
         neutralize this property. (Id. at 87–88.) This resulted in the
         layer of internal buildup being stripped from the pipe. The
         biofilms went with it, releasing potentially harmful bacteria
         into the water supply. (Id. at 89.) The pipe metal was left
         exposed and lay open to the water’s corrosive properties. (Id.)

         In April 2014, a large percentage of Flint’s exterior service
         lines were also many decades old,9 and these were mostly
         made out of lead. (Id. at 92.) The corrosive water stripped the
         buildup from these pipes too. The exposed pipework began to
         leach lead and bacteria into the City’s water. (Id.) Lead is
         toxic, and there is no safe level of exposure. Lead is
         particularly damaging to children because even low-level lead
         exposure can result in reduced intelligence, shortening of
         attention span, and increased antisocial behavior. (Id. at 111–
         12.)

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         Initial warning signs. Almost immediately following the
         transition, users began complaining about Flint’s new water
         source. (Id. at 44.) The Governor’s office began receiving
         customer grievances, and numerous press stories were
         written about Flint’s water quality problems. (Id. at 44 n.4.)

         In August 2014, Flint’s water tested above the legal limits for
         total coliforms, including potentially fatal pathogens. (Id. at
         89.) As a short-term solution, the City issued boil-water
         advisories that lasted into September. In an attempt to
         permanently address the issue, Flint officials began adding
         more chlorine to the water to kill the bacteria. (Id.)

         Chlorine in water reacts with organic and inorganic matter,
         producing     byproducts    collectively   referred    to    as
         trihalomethanes. (Id.) The EPA regulates several types of
         trihalomethanes in drinking water, and the collective
         concentration of these compounds is known as the Total
         Trihalomethanes (TTHM) count. However, chlorine reacts
         preferentially with metal. (Id. at 101.) So as the metal pipes
         were stripped bare, more and more chlorine was needed to
         neutralize the coliforms. The increased quantity of chlorine in
         turn raised the TTHM count. (Id. at 89.) The inability to treat
         coliforms such as E. coli with chlorine is indicative of a
         problem with pipe corrosion. (Id. at 103.) And the resulting
         high TTHM levels were an indicator of this underlying
         problem. (Id. at 89.) MDEQ officials Busch, Prysby, and Adam
         Rosenthal, a water quality analyst, were aware in May 2014
         that TTHM levels were elevated and above regulatory
         mandated levels. (Id. at 89–90.)

         The complaints continued to grow such that by October 2014,

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         Flint’s water problems were under serious discussion in the
         Governor’s office. (Id. at 44.) In addition, the MDHHS was
         notified of an outbreak of Legionnaires’ disease, a deadly
         illness caused by legionella bacteria which can enter the water
         supply when biofilms are stripped from old metal piping. (Id.
         at 90.) Lead poisoning rates for the months of July, August,
         and September were also dramatically higher than usual for
         children living in Flint. Yet no government official took any
         action, despite suggestions by senior staff in the Governor’s
         office that Flint should begin to purchase water from DWSD
         until water quality could be assured for Flint’s residents. The
         fact that the Genesee County Health Department began to
         connect the increased incidence of legionella with Flint’s
         water did nothing to activate a response. (Id. at 45 n.6.)

         As the winter of 2014 drew nearer, a large customer with the
         ability to do so stopped using Flint’s water. General Motors
         (GM) switched from the City of Flint water system to Flint
         Township’s water (drawn from Lake Huron) for its Flint
         engine operations facility. (Id. at 45 n.7.) And while the
         MDEQ stated at this time that there was nothing unusual
         about the chloride content in Flint’s water, GM cited corrosion
         concerns for its decision. (Id. at 45, 91.) The loss of GM as a
         customer resulted in an annual revenue loss for the City of
         $400,000. (Id. at 45 n.7.)

         The import of GM’s decision was not lost on senior members
         of Governor Snyder’s staff who again suggested that Flint
         resume purchasing DWSD water. (Id. at 45.) But again, no
         action was taken. When Earley was directly briefed on the
         issue of GM’s switch by the Governor’s staff, he rejected the
         idea of reconnecting to DWSD water. (Id. at 46.) This was
         despite the fact that the Governor’s own Chief of Staff

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         described the situation as “downright scary” and called for a
         return to DWSD “ASAP.” (Id.)

         The Crisis continued to develop. At the same time, water
         coolers were installed in Flint’s state government buildings.
         This left MDEQ officials to discuss the optics of such a move,
         given the government’s public message that Flint’s water was
         safe for human consumption. (Id. at 47.) Additionally, the
         University of Michigan turned off certain drinking fountains
         located on its Flint campus because of high lead levels. (Id. at
         92.) And test results began to show that Flint’s water
         exceeded the regulatory standards governing lead levels in
         drinking water. (Id. at 91.)

         From warning signs to alarm bells. In January 2015, Earley
         resigned and was replaced as Emergency Manager by Gerald
         Ambrose. (Id. at 47.) Around this time, state officials
         recognized that the problems with Flint’s water were being
         caused by pipe corrosion. (Id. at 48 n.13.) The DWSD
         approached Ambrose and offered him the opportunity to
         purchase water at attractive rates and even offered to waive
         the reconnection fee. (Id. at 48–49.) But Ambrose rejected the
         proposal, even though there had been months of complaints
         that the water was discolored, foul smelling, bad tasting, and
         making families sick. (Id.) The Governor was briefed on the
         severity of the situation, but again, neither state nor local
         officials took any corrective action. (Id. at 49–50.)

         In February 2015, in an effort to address the public health
         emergency, the City hired [VNA] and rehired LAN to review
         the City’s water system. (Id. at 96.)

         ...

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         That same month, Flint residents began staging public
         demonstrations to demand a return to DWSD water and the
         Environmental Protection Agency (EPA) responded to
         complaints raised by Flint water users. (Id. at 49–50.) A
         resident, LeeAnne Walters, had complained of black sediment
         in her water. The EPA noted that the iron content of the water
         was so high that testing instruments could not measure it,
         concluded that the black sediment was lead, and began to
         inquire further. (Id.) As part of that investigation, MDEQ
         supervisor Busch falsely advised the EPA that Flint was
         using optimized corrosion control. The MDEQ dismissed the
         possibility of the black sediment being lead because, in the
         MDEQ’s view, the complaint came from a resident whose
         house contained plastic plumbing. (Id. at 51 n.18.) It was not
         until April 2015 that the MDEQ admitted to the EPA that the
         FWTP had no corrosion control protocol in place. (Id. at 55.)

         By March 2015, it was becoming clear that a major public
         health emergency existed. (Id. at 52.) Officials recognized that
         this probably included widespread lead poisoning and an
         increased risk of legionella exposure. The Governor and
         officials in his office discussed the possibility of distributing
         water filters to Flint residents, but they decided not to do so.
         (Id.) Instead, government officials continued to defend the
         decision to use the Flint River as an interim water source. (Id.
         at 52 n.20.) Moreover, officials began discrediting
         independent parties who were publishing data that showed
         elevated lead levels in Flint’s water. (Id.) MDEQ officials
         continued to deny the link between Flint’s water and
         legionella. (Id. at 53–54.) Emergency Manager Ambrose
         vetoed a Flint City Council vote to reconnect to DWSD water.
         (Id. at 54.)

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         As the summer began, the EPA continued to monitor the
         situation. In June 2015, the EPA prepared an internal
         memorandum titled “High Lead in Flint Michigan-Interim
         Report” and shared it with MDEQ staff. (Id. at 56.) In the
         words of one EPA employee, the government’s response to the
         Crisis “border[ed] on criminal neglect.” This did not prompt
         state or local officials to address the risk of harm faced by
         Flint’s water users, even though the EPA began to speak
         publicly about the possible dangers. (Id.) Instead, government
         officials again denied that there was a problem. In July,
         MDEQ Communications Director Bradly Wurfel appeared on
         television and radio to deny that there was any problem with
         Flint’s water, despite all evidence to the contrary. (Id. at 57,
         59.) At the same time, the Governor was warned by his Chief
         of Staff that complaints about the water were being
         inappropriately “blown off” by government officials, yet the
         Governor continued to do nothing. (Id. at 58.)

         As the summer drew to a close, the Crisis became impossible
         to deny. Private individuals such as Dr. [Mona] Hanna-
         Attisha, a Flint area pediatrician, began pointing out flaws
         with Flint’s water quality testing procedures and speaking
         publicly about possible lead poisoning. Then, Professor Marc
         Edwards of Virginia Polytechnic Institute and State
         University determined in August 2015 that there was serious
         lead contamination and highlighted how the situation was
         being covered up. (Id. at 59–61.) In response, the MDEQ
         falsely stated that the MDHHS had reexamined blood lead
         level data and found nothing to affirm Dr. Hanna-Attisha’s
         data. (Id. at 63–64.) Wurfel discredited Edwards and
         continued to assure the public that Flint’s water was safe. (Id.
         60–61, 63–64.) MDEQ officials Busch, Prysby, and Glasgow

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         subsequently conspired to alter water quality reports to
         remove the highest lead level test results. (Id. at 60–61.)

         On October 8, 2015, the Governor publicly admitted that
         Flint’s water supply was compromised and ordered the City
         to reconnect to the DWSD. This reconnection occurred on
         October 16. (Id. at 64.) On October 18, MDEQ Director Wyant
         admitted to the Governor that the FWTP had failed to
         implement corrosion control from the outset. (Id. at 65.)
         Wyant claimed that this was due to an incorrect
         understanding of the regulatory requirements. (Id.)

         Aftermath. Although government officials at last publicly
         admitted the nature of the Crisis and ordered Flint to
         reconnect to DWSD water, the health threat did not dissipate.
         Flint’s corroded water infrastructure continued to leach lead
         and bacteria into the water. The pipes, stripped bare by the
         Flint River’s corrosive water, did not instantaneously regain
         their earlier protective film with the change in water. The
         dangers were still present. Yet government officials issued
         misleading statements that continued to downplay the risks
         of harm posed by Flint’s water. (Id. at 67.) This was even so
         once Governor Snyder was informed in December 2015 that
         the risk posed by elevated lead levels and legionella was
         ongoing. (Id. at 66.) It was not until January 6, 2016, that the
         Governor publicly accepted that the risks due to lead exposure
         were still ongoing. (Id. at 67.) It then took him until January
         13 to do the same for Legionnaires’ disease, issuing a state of
         emergency in Flint and activating the Michigan National
         Guard to assist the City’s residents. (Id.)

         This was almost two years after the transition to the Flint
         River. The long delay between Governor Snyder publicly

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         admitting that the Crisis existed and declaring a state of
         emergency was at odds with how he handled disasters in other
         majority white Michigan communities, where he would
         typically issue states of emergencies within days following a
         disaster. (Id. at 150–56.)
         _______________
         8 Water distribution pipes transport treated drinking water to

         consumers. These pipes may be large in diameter, which
         supply entire towns, or they may be smaller pipes that branch
         off the larger ones to supply a particular street or group of
         buildings.

         9 An exterior service line connects a building to the main
         distribution pipelines.

   Id. at *4–10.

             B. LAN’s Conduct

         In 2011, LAN entered into a contract with the City of Flint to help

   determine whether the Flint River could be used as a primary drinking

   source for the City. LAN initially

         cautioned against it and warned that the dormant FWTP
         would require millions of dollars in upgrades in order to treat
         the raw river water safely.[] In addition, water from the river
         would require more effort to treat than water from the
         eventual KWA pipeline, which would draw from Lake Huron.
         LAN’s analysis in particular noted a need to use chemicals to
         neutralize the river’s corrosive properties.

   Id. at *6.

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         Despite these early warnings, the City persisted in its goal to switch

   its water source. In 2013, LAN entered into another contract with the

   City to determine the steps the City needed to take to switch from using

   Lake Huron water—treated by DWSD—to using Flint River water

   treated by the FWTP. The stated purpose of the contract was to

   “rehabilitat[e] and improve[] the Flint Water Plant to provide water

   supply continuous service utilizing the Flint River as a water source.”

   (ECF No. 1208-54, PageID.35336.) Pursuant to the contract, LAN agreed

   to “exercise independent judgment and to perform its duties under this

   contract in accordance with sound professional practices.” (Id. at

   PageID.35330.) The contract provided that “the City [wa]s relying upon

   the professional reputation, experience, certification, and ability of

   [LAN].” (Id.)

         In June 2013, LAN

         met with representatives from Flint, the GCDC, and the
         MDEQ. They discussed FWTP upgrades, water quality
         control, and the ability to meet the April 2014 deadline. The
         attendees determined that the Flint River was a viable water
         source. Although it would be more difficult to treat than other
         water sources, the parties believed that these difficulties
         could be overcome. In LAN’s view, the April 2014 timeframe
         was feasible.


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   Walters, at *6.

         While operating under this contract, LAN proposed a three-piece

   engineering project to put the FWTP into service using Flint River water.

   Pursuant to this project, LAN would: (1) test run the “treatment systems

   and hydraulic capacity” of the water plant; (2) prepare and submit an

   engineering planning report “to define the immediate and long term

   improvements using the Flint River as a source of water”; and (3) “fast

   track design of the immediate improvements for continuous operation

   and treatment of Flint River water.” (ECF No. 1208-54, PageID.35341–

   35342.)

         In its three-piece engineering project, LAN did not recommend a

   corrosion control study or suggest installation of a corrosion control

   chemical dosing program, despite the fact that the DWSD had

   undertaken corrosion control protocols. (See ECF No. 1208-67,

   PageID.35458–35459.) Mr. Warren Green, LAN’s project lead engineer,

   internally recommended a corrosivity assessment for the treatment plant

   that would run from sixty to ninety days. However, according to Class

   Plaintiffs’ water quality and corrosion mitigation expert, Dr. Larry

   Russell, “a meaningful study of this nature to stabilize the corrosion


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   treatment process would take two years [in order to] identif[y] the

   appropriate dose of corrosion control inhibitor (such as, orthophosphate)

   using pipe loop testing.” (Id. at PageID.35456–35457 (quoting EPA

   representative Mr. Michael Schock (“So there’s no hard and fast specific

   time frame, but by and large, in our experience, a couple years is a rough

   estimate of what it would really take to get a [corrosion control] study

   done. And the studies need to be done, and it’s a well-known best practice

   in the corrosion control field before you make a treatment change that’s

   significantly going to affect corrosion.”)).) Ultimately, LAN, MDEQ, and

   Flint City officials “decided to wait for more data before implementing a

   corrosion control protocol. As a result, no corrosion control measures were

   put in place to neutralize the chloride salts present in the Flint River

   water.” Walters, at *6.

         Despite this initial decision to wait for more data—and with LAN’s

   approval—the City began using Flint River water as a water source in

   April 2014 and did not undertake corrosion control. (See ECF No. 1208-

   67, PageID.35458.) Right after the switch, Flint residents began to

   complain about the smell, taste, and color of the new water. (See, e.g.,

   ECF No. 1208-68, PageID.35516.) By August 2014, Flint’s water tested


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   above the regulatory limit for fecal coliform, including E. coli, and the

   City increased the water’s chlorine levels in response. (See ECF No. 1208-

   69, PageID.35529–35530.) However, without a corrosion control protocol,

   increased chlorine resulted in an increase in disinfectant byproducts,

   including TTHM levels that exceeded federal regulatory guidelines. (See

   ECF Nos. 1208-67, PageID.35462; 1208-70, PageID.35559.) LAN

   provided engineering services to the City throughout this period and

   allegedly never raised red flags about the following harms that could

   result from ongoing corrosion: elevated TTHM levels, lead poisoning, and

   damage to pipes and fixtures controlled by the City and members of the

   public.

         LAN’s most significant recommendation to the City after the

   Crisis—in both its 2014 Action Plan regarding the subsequent TTHM

   issues and its February 2015 report after it was rehired to review the

   City’s water system—was to increase ferric chloride dosing.7 As Dr.

   Russell explains, “[t]he Flint River [already] contained high levels of

   chlorides resulting from both industrial and agricultural discharges, road

   salt used for winter ice management, and evaporation in Lake Holloway.


         7 VNA also made this recommendation. See Walters, at *8.

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   The use of ferric chloride as a coagulant further increased the

   concentrations of chlorides in the treated water.” (ECF No. 1208-67,

   PageID.35420.) The increased chloride resulted in increased water

   acidity, which likely “worsened the corrosive nature of the City’s water.”

   Walters, at *8. Dr. Russell faults LAN for “fail[ing] to acknowledge any

   corrosion problems in the report [or] provide a strategy that included

   corrosion control.” (Id. at PageID.35462.)

         LAN disputes this characterization of its role. It argues in its class

   certification response brief, without referring to attachments or citing to

   the record, that it was “basically shut out from water quality decision-

   making,” that it was “not asked to participate in a subsequent test run

   the City is believed to have conducted in September-October, 2013,” and

   that it “was not asked to participate in any final test run in spring 2014,

   prior to distribution of water to the public. Nor was LAN consulted the

   following summer when the City began receiving complaints from

   residents regarding the color, odor, and taste of the water from the

   FWTP.” (ECF No. 1390, PageID.53910.) LAN also argues that, pursuant




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   to the City’s Change Orders No. 3, 4, and 5,8 it was not “g[i]ve[n]

   responsibility for water quality.” (Id.)

            C. VNA’s Conduct

         In January 2015, the City of Flint issued an invitation to bid for a

   “Water Quality Consultant” to help address problems stemming from

   Flint River water, explaining that Flint was “seeking a consultant to

   review and evaluate the water treatment process and distribution

   system,” as well as to “provide recommendations to maintain compliance

   with both state and federal agencies, and assist in implementing

   accepted recommendations.” (ECF No. 1208-71, PageID.35607–35608.)

         VNA responded with a bid offering a “complete solution” to address

   both the “immediate reliability” of the City’s water system and future

   “operational needs.” (ECF No. 1208-72, PageID.35639–35642.) VNA’s

   response stated that “addressing the fundamental issues concerning

   water quality compliance and operational reliability” would be “much

   more complex” than the approach initially outlined in the City’s

   invitation to bid. (Id.) VNA indicated that it would “review[] and




         8 The  Court could not readily identify these documents from the available
   record, and LAN did not attach, cite, or otherwise direct the Court to them.
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   evaluat[e] the City’s water treatment process and distribution system”;

   “develop[] a report on the finding of the evaluation, with specific

   recommendations to maintain compliance with both State of Michigan

   and federal agencies”; and “assist[] the City in implementing accepted

   recommendations [which focus on] improv[ing] the overall process of

   treating and distributing water, including improvements to water quality

   until the implementation of the KWA project [] under which the City will

   be receiving and treating Lake Huron water.” (Id. at PageID.35643.)

         On February 4, 2015, VNA signed a contract with the City agreeing

   to “provide consulting services related to the Flint Water Treatment

   System updates for the City of Flint.” (ECF No. 1208-73.) The contract

   defined the scope of VNA’s services as incorporating VNA’s response to

   the invitation to bid. (Id. at PageID.35680.) VNA agreed in its contract to

   conduct a “top to bottom” review of the City’s water system to “determine

   the source of any problems that might be present in the way the [C]ity is

   treating water from the Flint River.” (ECF No. 1208-75, PageID.35698.)

   VNA’s contract was never amended.

         A week after it was hired, VNA issued an interim report “indicating

   that Flint was in compliance with drinking water standards.” Walters, at


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   *8. Around the same time, in a February 18, 2015 meeting with the City

   of Flint Public Works Committee, VNA’s representative David Gattison

   reported that “[the City’s] water is tested . . . more than 20,000 times

   annually. That is what is required by the state, and by federal. So that

   the guidelines are—are very strict . . . . It has been tested, and to this

   date we can say that the water . . . is safe—here in Flint.” (ECF No. 1208-

   86, PageID.35774.)

         Despite these public reassurances, there were multiple instances in

   which VNA internally recognized potential issues with the City’s

   municipal water supply. For example:

       In a February 9, 2015 internal email, VNA’s agent Mr. Robert
        Nichols wrote to Ms. Kelly Rossman-McKinney9 that “[l]ead
        could be a problem based on the water. Part of what we will
        do is look at the water quality, testing and results for lots of
        different variables.” (ECF No. 1208-87, PageID.35860.)

       A February 18, 2015 note handwritten by VNA’s engineer Mr.
        Marvin Gnagy states that “corrosive water conditions exist
        discussed w/ plant staff and suggested potential issues with
        lead and copper monitoring in the future. Might need to
        balance ph and corrosion control with THM [sic] compliance
        issues.” (ECF No. 1208-67, PageID.35464–35465.)


         9 Ms.  Rossman-McKinney’s email address identifies her as an employee of
   Truscott Rossman, which appears to be a strategic communications firm. (See ECF
   No. 1208-87, PageID.35860; see also www.truscottrossman.com.)
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       VNA engineer Mr. Depin Chen acknowledged in an email
        toward the beginning of the project that “DWSD has just
        offered to reconnect the DWSD supply line to Flint with no
        strings attached (no re-connection fee, no long term contract).
        Many residents are asking to have the DWSD water back. . .
        . It seems that reconnecting to the DWSD for the next two
        years will be the best solution to satisfy the residents and
        activists.” (Id. at PageID.35465.) In a later deposition, Mr.
        Chen defended his email recommendation as “the best
        technical solution.” (Id.)

       VNA internally recognized, through its Director of
        Optimization Mr. Joseph Nasuta in a February 13, 2015 email
        to Mr. Gnagy, that “the quickest option and maybe safest
        option is to return to Detroit water. We can say we have not
        evaluated the costs of that option, if we have not, but we need
        to tell BD10 that this is an option and quick to implement.”
        (ECF No. 1208-85, PageID.35767 (emphasis in original).) Mr.
        Nasuta reiterated the urgency of communicating this option
        multiple times in the same email thread: “please in some form
        (report paragraph or email best) tell BD that returning to
        Detroit is an option . . . we need to be sure to tell them the
        obvious; there is a[] quick easy fix to this (even if it is not in
        the scope of work BD asked to look at). Let me know if you
        have questions, but we must get this message to the DB11
        group and let them decide.” (Id.)




         10 The Court is unclear as to who or what BD is.

         11 The Court is unclear as to who or what DB is.

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         Despite VNA’s internal recognition of potential issues with the

   City’s municipal water supply, VNA allegedly failed to perform a number

   of tests and make a number of recommendations that would have more

   quickly confirmed to the public the existence of toxins in the City’s water.

   Class Plaintiffs’ expert Dr. Russell opines that VNA failed to inform the

   City in writing, and potentially at all, that even though MDEQ was not

   formally requiring corrosion control, the City was in violation of federal

   regulations requiring as much. (ECF No. 1208-67, PageID.35463.) Dr.

   Russell also faults VNA for failing to calculate the chloride to sulfite ratio

   for the water, which Dr. Russell says is standard and would demonstrate

   the need for immediate corrosion control. Dr. Russell additionally faults

   VNA for failing to include the need for lead corrosion control in any of its

   reports and failing to emphasize that corrosion control was critical to

   protect public health, even though VNA’s engineers were aware that

   corrosion control was a “best practice” and that using orthophosphates to

   control for lead corrosion would be a “must” for the City. (See ECF No.

   1207, PageID.34466; ECF No. 1208-83, PageID.35748–35749.)

         VNA disputes the argument that it failed to make corrosion control

   recommendations. VNA’s “final report” to the City recommended, at


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   internal priority level 2 after TTHM recommendations, “initiat[ing]

   discussions with the State on the addition of a corrosion control

   chemical,” such as “.5 mg/L of phosphate.” (ECF No. 1369-22,

   PageID.45824.) Ultimately, VNA recommended the addition of ferric

   chloride to help address the TTHM problem. But this “likely worsened

   the corrosive nature of the City’s water by increasing the water’s acidity.”

   Walters, at *8.

         There is evidence that VNA’s failure to make the recommendations

   Dr. Russell believes it should have made was at least partially the result

   of City authorities intentionally prohibiting it from doing so.12 VNA

   engineer Mr. Gnagy testified that the option of returning to the Detroit

   water supply was “taken off the table by the [C]ity.” (ECF No. 1369-23,

   PageID.45832.) As a result, VNA engineers “didn’t evaluate [this option]

   any further” and instead looked at “what it would take to treat the Flint


         12 There is additional evidence that the City was already aware of a corrosion

   control problem shortly after VNA arrived on the scene. Intracity emails from
   February 24, 2015 demonstrate that Michael Glasgow, manager of the FWTP, told
   the City that a lead sample from one Flint home—212 Browning—was “definitely a
   pressing issue here, and with this recent lead result and the previous iron results[
   and] data to prove it . . . lead can be found in many plumbing features including
   faucets, but I worry if [the] service line is lead.” (ECF No. 1369-25, PageID.45870.)
   The emails also discuss corrosion controls and adding phosphate to the [City’s] water.
   (See id.)
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   River water to meet the THM [sic] conditions and to mitigate red water

   occurrences.” (Id.) VNA representatives also assert that the City

   “deliberately withheld” from them elevated lead testing levels results,

   and instead provided VNA with “healthier” samples that VNA then

   tested and found, correctly, to be within the normal range for lead. (See

   Id. at PageID.458367–45843.)

      III. LAW AND ANALYSIS

            A. Note About this Class Certification and the Pending
               Parallel Class Settlement Proceedings

         As the Court has stated many times, the Flint Water Cases

   comprise a multi-faceted body of litigation involving multiple defendants,

   tens of thousands of individual as well as putative class plaintiffs, and

   numerous discrete legal issues. The class certification motion at issue

   here (ECF No. 1207) has proceeded alongside a motion for approval of a

   partial settlement (ECF No. 1318). The latter motion requests

   conditional certification of a settlement class and involves many of the

   parties initially named as defendants in the putative class action

   complaint, including the Government Defendants and Rowe. (See ECF

   No. 1318.) As of the issuance of this Opinion and Order, the Court has


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   granted the motion conditionally certifying the settlement class. (ECF

   No. 1399.)

         The process of analyzing the putative class for settlement purposes

   is entirely separate from the process of analyzing the motion for class

   certification. However, the motion for class certification and the parallel

   class settlement proceedings involve many of the same or similar

   Plaintiffs. For this reason, the parties involved in the class certification

   motion draw certain comparisons between the two proceedings in

   arguing that the Court should rule one way or another on the class

   certification request because of its ruling in the partial class settlement

   context. These comparisons are largely unhelpful. The two proceedings

   involve different Defendants, different underlying legal issues, different

   class definitions, and different proposals for resolution of the Plaintiffs’

   varied claims. Additionally, though both proceedings involve analyzing

   the putative classes under Federal Rule of Civil Procedure 23(a) and (b),

   the Court applies Rule 23 differently in each proceeding—with more

   scrutiny as to some Rule 23 factors and less scrutiny as to others—due to

   the fundamentally distinct purposes of litigation and settlement classes.

   See, e.g., In re Nat’l Prescription Opiate Litig., 976 F.3d 664, 674 (6th Cir.


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   2020) (noting that the Rule 23(b)(3) analysis is more lax in settlement-

   only class certification proceedings because, in those cases, “a district

   court need not inquire whether the case, if tried, would present

   intractable management problems . . . for the proposal is that there be no

   trial”); see also Garner Props. & Mgmt., LLC v. City of Inkster, 333 F.R.D.

   614, 624 (E.D. Mich. 2020) (“The requirements for satisfying the

   adequate    representation    prerequisite   for   class   certification   are

   scrutinized more closely, not less, in cases involving a settlement class,

   as opposed to a class certified for trial, because the need for the adequacy

   of representation finding is particularly acute in settlement class

   situations.”).

         The Court will address the parties’ specific comparisons in footnotes

   as they arise during the Rule 23 analysis of the class certification motion.

            B. Introduction to Class Certification

         Pursuant to Federal Rule of Civil Procedure 23(b)(2), (b)(3), and

   (c)(4), Class Plaintiffs move to certify a “Master” Issues Class and four

   Subclasses: an Issues Subclass and three Damages Subclasses, with one

   of the Damages Subclasses also seeking class-wide injunctive relief. (See

   ECF Nos. 1207, 1829.) Class Plaintiffs bear the burden of demonstrating

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   that class certification is proper. See In re Am. Med. Sys., Inc., 75 F.3d

   1069, 1079 (6th Cir. 1996). However, the Court is authorized to redefine

   the classes to provide narrower class-based relief when necessary to

   ensure that the “class is properly constituted.” See Powers v. Hamilton

   Cnty. Pub. Def. Com’n, 501 F.3d 592, 618 (6th Cir. 2007).

         As the Court will explain, Class Plaintiffs’ proposed Damages and

   Injunctive Subclasses will not be certified because Class Plaintiffs cannot

   meet the Rule 23(b)(2) and (b)(3) requirements for class-wide damages

   and injunctive relief.13 As the Court will further explain, Class Plaintiffs’

   proposed Issues Classes are certifiable under Rule 23(c)(4) but require

   redefinition. Accordingly, the Court will exercise its “broad discretion to

   modify class definitions” to redefine the proposed class definitions in

   order to certify two Issues Classes—a Multi-Defendant Issues Class and

   a LAN Issues Class—and nine questions that are appropriate for class

   treatment. See id.

         Federal Rule of Civil Procedure 23 governs class certification. Class

   certification is “an exception to the usual rule that litigation is conducted


         13  Class Plaintiffs’ proposed Minors Damages Subclass is additionally
   uncertifiable because doing so would violate Michigan law and the federal Rules
   Enabling Act.
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   by and on behalf of the individual named parties.” Califano v. Yamasaki,

   442 U.S. 682, 700–01 (1979). In order to certify a class, and in a process

   “perhaps slightly more complicated than ordering from a restaurant

   menu,” In re FCA US LLC Monostable Elec. Gearshift Ltg., 334 F.R.D.

   96, 104 (E.D. Mich. 2019), Class Plaintiffs must show that each proposed

   class    meets     the   four    prerequisites     of   Rule    23(a)—numerosity,

   commonality, typicality, and adequacy of representation—as well as one

   of the requirements of Rule 23(b), depending on the type of class-wide

   relief that Class Plaintiffs are seeking. See Fed. R. Civ. P. 23; see In re

   Whirlpool Corp. Front-Loading Washer Prods. Liab. Litig., 722 F.3d 838,

   850 (6th Cir. 2013). To recover class-wide damages as a “damages class”

   under Rule 23(b)(3), Class Plaintiffs must show that common issues in

   the lawsuit predominate over individualized ones and that a class action

   would be superior to other forms of litigation.14 Fed. R. Civ. P. 23(b)(3).


           14 Rule 23(b)(3) sets forth four factors relevant to analyzing its predominance

   and superiority requirements:

           A) The class members’ interests in individually controlling the
              prosecution or defense of separate actions;
           B) The extent and nature of any litigation concerning the controversy
              already begun by or against class members;
           C) The desirability of concentrating the litigation of the claims in the
              particular forum; and
                                             42
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   To obtain injunctive relief as an “injunctive class” under Rule 23(b)(2),

   Class Plaintiffs must show that the proposed class is cohesive and seeks

   “final injunctive relief.” Coleman v. Gen. Motors Acceptance Corp., 296

   F.3d 443, 446 (6th Cir. 2002).

         Rule 23 also permits certification of an issues class. Fed. R. Civ. P.

   23(c)(4). Where a class cannot be certified to seek class-wide damages

   relief, certification of certain common issues within the class may be

   appropriate to “retain a case’s character where common questions

   predominate within certain issues and where class treatment of those

   issues is the superior method of resolution.” Martin v. Behr Dayton

   Thermal Products LLC, 896 F.3d 405, 405 (6th Cir. 2018). Certification

   of an issues class is appropriate when “[r]esolving the issues in one fell

   swoop would conserve the resources of both the court and the parties”

   and will “materially advance the litigation.” Id. at 416.

         As a preliminary matter, while Class Plaintiffs do not demonstrate

   that their proposed classes are certifiable for damages or injunctive relief,




         D) The likely difficulties in managing a class action.

   Fed. R. Civ. P. 23(b)(3).


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   there are discrete legal and factual issues apparent from the record that

   are “suitable subjects for class-wide adjudication.” See In re FCA, 334

   F.R.D. at 110. Accordingly, the Court will certify two Issues Classes and

   nine questions that are appropriate for class-wide treatment.

              C. Introduction to Class Definitions

         “Although not specifically mentioned in Rule 23, the definition of

   the class is an essential prerequisite to maintaining a class action.” Lott

   v. Louisville Metro Gov’t, No. 19-cv-271, 2021 WL 1031008, at *8 (W.D.

   Ky. Mar. 17, 2021) (internal citations omitted) (quoting Adams v. Fed.

   Materials Co., No. 5-CV-90, 2006 WL 3772065, at *3 (W.D. Ky. 2006)). In

   this case, the definitions for each proposed Class and Subclass have been

   debated and rewritten multiple times throughout this years-long

   litigation.15 Class Plaintiffs’ latest proposed definitions seek to certify a



         15 For example, Class Plaintiffs’ first proposed definition included a single
   Class. That definition, submitted on March 7, 2016 was:

         [A]ll persons in the City of Flint who have been harmed by Defendants’
         continuing violation of the Safe Drinking Water Act’s requirement to
         operate and maintain optimal corrosion control treatment, 40 C.F.R. §§
         141.81-.82;

         [A]ll persons in the City of Flint who have been harmed by Defendants’
         continuing violation of the Safe Drinking Water Act’s requirement to
         notify customers of the individual results of tap water samples tested
                                           44
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   “Master” Issues Class and four Subclasses: a VNA Issues Subclass, a

   Minors Damages and Injunctive Subclass, a Residential Property

   Damages Subclass, and a Business Damages Subclass. (ECF Nos. 1207;

   1829.) Class Plaintiffs’ proposed definitions are as follows:

         Master Issues Class (Rule 23(c)(4))
         All persons and entities who, for any period of time between
         April 25, 2014 and January 5, 2016, were exposed to or
         purchased drinking water supplied by the City of Flint, owned
         real property in the City of Flint, or owned or operated a
         business in the City of Flint.

         Exposure is defined to include ingestion (either through
         drinking or consuming foods prepared with drinking water)
         as well as any form of physical contact with the water
         (including contact with residential plumbing and other
         appliances as well as human contact by way of bathing).



         for lead within 30 days after receiving the results, 40 C.F.R. §
         141.85(d)(1), (d)(2);

         [A]ll persons in the City of Flint who have tested positive for the
         presence of lead in their blood, since April 25, 2014;

         [A]ll persons in the City of Flint who have experienced personal injury
         as a result of their exposure to elevated lead levels in Flint’s drinking
         water supply, since April 25, 2014; and

         [A]ll persons in the City of Flint who have owned or rented property in
         Flint[,] Michigan since April 25, 2014.

   McMillian v. Snyder, Case No. 16-10796, ECF No. 1, PageID.45–46.
                                            45
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   (ECF No. 1829, PageID.65281)

         VNA Issues Subclass (Rule (23(c)(4))
         All persons and entities who, for any period of time between
         February 15, 2015 and January 5, 2016, were exposed to or
         purchased drinking water supplied by the City of Flint, owned
         real property in the City of Flint, or owned or operated a
         business in the City of Flint.

         Exposure is defined to include ingestion (either through
         drinking or consuming foods prepared with drinking water)
         as well as any form of physical contact with the water
         (including contact with residential plumbing and other
         appliances as well as human contact by way of bathing).

   (Id. at PageID.65283.)

         Residential Property Damages Subclass (Rule 23b)(3))
         All persons and entities who owned residential property
         within the City of Flint at any time during the period from
         April 25, 2014 through December 14, 2015.

   (Id. at PageID.65286.)

         Business Damages Subclass (Rule 23(b)(3))
         All persons and entities who, as of April 25, 2014 owned and
         operated a business within the City of Flint that falls within
         one of the following North American Industry Classification
         System (“NAICS”) codes: 812111, 812112, 812113, 812990,
         and 722511.

   (Id. at PageID.65289.)



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         Minors Damages and Injunctive Subclass (Rule 23(b)(2)
         and (b)(3))
         All children who, during the period from May 1, 2014 to
         January 5, 2016, were (a) in utero or between the ages of 0 to
         10 years old, (b) lived in an identified residence or attended
         an identified school or day care, and (c) were exposed through
         ingestion to unfiltered Flint public water* at such residence,
         school, or day care for at least 14 days within a 90 day period.
         * “Exposed through ingestion to unfiltered Flint public water”
         means the child (or their mother) was exposed to unfiltered
         tap water for at least 14 days during a 90 day period between
         May 1, 2014 and January 5, 2016, through any combination
         of the following ways:
              (1) For childhood exposure: the child drank unfiltered
              Flint tap water (or beverages prepared with unfiltered
              tap water, including infant formula), and/or ate food
              prepared with unfiltered tap water;
              (2) For in utero exposure, the mother drank unfiltered
              Flint tap water (or beverages prepared with unfiltered
              tap water), and/or ate food prepared with unfiltered
              Flint tap water, while pregnant.
   (ECF Nos. 1207, PageID.34418–34419; 1829, PageID.65285.)

         Exclusions: Excluded from the classes are: (1) Defendants;
         (2) the judicial officers to whom this case is assigned in federal
         court, Genesee County Circuit Court, and the Michigan Court
         of Claims, as well as these officers’ staff and immediate family
         members; and (3) all persons and entities who timely and
         validly elect to opt out of the Issues Classes.
   (ECF No. 1829, PageID.65281–65282.)

         For the reasons set forth below in this Opinion and Order, all of

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   Class Plaintiffs’ proposed Subclasses are uncertifiable as a matter of law,

   and so the Court will not redefine them. However, the proposed Issues

   Classes are certifiable if redefined. Accordingly, with the benefit of

   multiple rounds of briefing and extensive oral argument on the subject of

   class definitions, and mindful of the Court’s “obligation to create a new

   definition sua sponte if the parties’ own proposals are not adequate or

   accurate,” Lott, 2021 WL 1031008, at *8, the Court will redefine Class

   Plaintiffs’ two proposed Issues Classes as follows:

         Multi-Defendant Issues Class (Rule 23(c)(4))
         All persons and entities who, for any period of time between
         February 4, 2015 and October 16, 2015, were exposed to or
         purchased drinking water supplied by the City of Flint, owned
         real property in the City of Flint, or owned or operated a
         business in the City of Flint.
         * “Exposure” is defined to include ingestion (either through
         drinking or consuming foods prepared with the drinking
         water), bodily contact with the water (such as by way of
         bathing), and property contact with the water (through
         residential plumbing or other appliances).

         * “Persons” is defined to include only those individuals who
         have reached the age of majority as of the date of the class
         notice.

         LAN Issues Class (Rule 23(c)(4))
         All persons and entities who, for any period of time between
         April 25, 2014 and October 16, 2015, were exposed to or
         purchased drinking water supplied by the City of Flint, owned
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         real property in the City of Flint, or owned or operated a
         business in the City of Flint.
         * “Exposure” is defined to include ingestion (either through
         drinking or consuming foods prepared with the drinking
         water), bodily contact with the water (such as by way of
         bathing), and property contact with the water (through
         residential plumbing or other appliances).

         * “Persons” is defined to include only those individuals who
         have reached the age of majority as of the date of the class
         notice.

         The Court’s definitions of the Multi-Defendant and LAN Issues

   Classes are based on Class Plaintiffs’ latest proposed Issues Class

   definitions, (ECF No. 1829), but they are modified as follows: (1) there

   will be two Issues Classes to reflect Engineering Defendants’ two

   different consulting timelines; (2) the Court modifies and clarifies Class

   Plaintiffs’ proposed timelines for each Class; and (3) the Court modifies

   and clarifies Class Plaintiffs’ definition of the word “exposure.”

         First, the Court certifies two Issues Classes that are substantively

   identical, but that represent the two different timelines in which each

   Defendant was actively consulting on the City’s water matters: LAN

   advised the City during the City’s April 25, 2014 switch to the Flint River,

   whereas VNA did not begin its consulting relationship with the City until

   February 4, 2015. (See ECF No. 1208-73, PageID.35680.) Both parties
                                        49
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   then consulted simultaneously, on and off, through 2015. (See ECF Nos.

   1208-67, PageID.35436; 1369-22, PageID.45813.) The parties have

   extensively disputed the best way in which to capture these two

   timelines, which overlap beginning in February 2015. Any class that

   were to include the entire proposed timeline—from April 25, 2014 to

   October 16, 2015—would be overbroad as to VNA because VNA could not

   possibly be liable as a consultant to the City for conduct that occurred

   from April 25, 2014 to February 3, 2015—before it arrived on the scene.

   To rectify this problem, Class Plaintiffs’ most recent class definition

   suggests that the Court create a “Master” Issues Class beginning in April

   2014 and a VNA-specific Issues Subclass beginning in February 2015,

   after the date of the proposed “Master” Issues Class. (ECF No. 1829,

   PageID.65281, 65283.) The Court declines this invitation because doing

   so would likely render some individuals members of the VNA Subclass—

   but not the Master Issues Class—obviating the purpose of a “master

   class.” Accordingly, though the Court is certifying two independent

   classes that contain a short temporal overlap, the undersigned believes

   that doing so—as opposed to managing the overlap by creating one

   “master” and one “sub” class—is the cleanest way to fulfill the Court’s


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   duty to capture the parties’ arguments and “ensure that a certified class

   is properly constituted.” Powers, 501 F.3d at 618 (modifying the class

   definition to avoid overbreadth and to “conform to the parties’

   arguments”); see Fed. R. Civ. P. 23(c)(5) (“When appropriate, a class may

   be divided into subclasses that are each treated as a class under this

   rule”); Adv. Comm. Note to id. (“Where a class is found to include

   subclasses     divergent     in   interest,   the    class    may     be    divided

   correspondingly, and each subclass treated as a class.”).

         Second, the Court amends the time period for the Multi-Defendant

   Issues Class to February 4, 2015 through October 16, 2015. As stated,

   the February 4, 2015 beginning date reflects the time by which both

   Defendants      were    unquestionably        consulting     on—and        therefore

   potentially liable for—the Flint Water Crisis.16 The October 16, 2015 end

   date reflects the time by which the City of Flint reconnected to the Detroit

   water source. The Court adopts this end date because it was consistently

   proposed by Class Plaintiffs until they submitted their Memorandum


         16 As noted, February 4, 2015 is the date that VNA signed a contract agreeing

   to “provide consulting services related to the Flint Water Treatment System updates
   for the City of Flint.” (ECF No. 1208-73, PageID.35680.) LAN had already been
   consulting on water matters prior to the City’s switch from the Detroit water source
   to the Flint River on April 25, 2014. Walters, at *6.
                                           51
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   Regarding Updated Proposed Class Definitions, in which they

   recommend extending the “Master” Issues Class end date through

   January 5, 2016 for the sole reason that the “Master” Issues Class period

   would thereby match the end date of the proposed Minors Damages and

   Injunctive Subclass.17 (ECF No. 1829, PageID.65281–65282.) Because



         17 Class Plaintiffs do not explain why the Minors Subclass—and only the
   Minors Subclass—was originally set to end on January 5, 2016 while the other classes
   were scheduled to end on October 16, 2015. However, as VNA points out in its
   Memorandum Regarding [Class Plaintiffs’] Proposed Revised Class Definitions, at
   least one of Class Plaintiffs’ experts provides some justification for this later date in
   his report. Dr. Howard Hu writes that

         extension of the exposure period beyond the October 16, 2015 date (the
         date Flint reconnected to Detroit water) is based on (a) the recognition
         that there would be a substantial delay in re-establishing the stable
         “passivation” layer that protects against the leaching of lead into water
         in Flint’s water distribution system, as well as other factors (see expert
         declarations by Dr. Larry Russell and Dr. Clifford Weisel). The proposed
         eligibility period end date of January 5, 2016, coincides with the day that
         Governor Rick Snyder issued his emergency declaration.

   (ECF No. 1208-90, PageID.35904.) (See also ECF No. 1208-136, PageID.37912
   (Declaration of Clifford P. Weisel) (“The end date used for this report is January 5,
   2016 when Governor Snyder declared a state of emergency in Genesee County
   warning residents about the dangerous levels of lead in their water. Nonetheless,
   elevated lead levels in the tap water of Flint were reported past the January 5, 2016
   date, and individuals who continued to drink Flint water past that date would have
   confronted elevated levels of lead for an extended time period.”).)
          Class Plaintiffs’ filings do not discuss this analysis of the January 5, 2016 date;
   VNA identified it buried within Class Plaintiffs’ exhibits. Absent any argument from
   Class Plaintiffs themselves as to why the Court should prefer the January 5, 2016
   end date—aside from their desire to lengthen the time period to match the
                                              52
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   the Court declines to certify the Minors Subclass, see infra at 55, the

   Court adopts the time period that has been most consistently proposed

   by Class Plaintiffs for the “Master” Issues Class and applies it to the

   Multi-Defendant Issues Class.

         Finally, the Court modifies Class Plaintiffs’ updated definition of

   “exposure” that appears in the Multi-Defendant and LAN Issues Classes.

   Class Plaintiffs’ most recent proposal defines “exposure” to include “any

   form of physical contact with the water (including contact with

   residential plumbing and other appliances as well as human contact by

   way of bathing).” (ECF No. 1829, PageID.65281.) Class Plaintiffs explain

   that this definition attempts to distinguish between property contact with

   water, resulting in property damage, and bodily contact with water,

   potentially resulting in personal injury. (ECF No. 1873, PageID.66165.)

   To clarify this distinction, the Court modifies the definition of “exposure”

   to “include ingestion (either through drinking or consuming foods

   prepared with the drinking water), bodily contact with the water (such

   as by way of bathing), and property contact with the water (through




   uncertifiable Minors Subclass—the Court declines to extend the time period beyond
   what Class Plaintiffs originally proposed for the broadest Class.
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   residential plumbing or other appliances).”

         The Court makes these three modifications to Class Plaintiffs’

   proposed definitions for clarity and in an effort to “be vigilant to ensure

   that a certified class is properly constituted.” Powers, 501 F.3d at 619.

   Such modifications are within the Court’s clear statutory authority. See

   id; see also Kensu, 2020 WL 1698662, at *9 (“The Court is mindful that

   Rule 23(c)(4) empowers courts to define an appropriate class, whether by

   accepting the proposed class, limiting the class to certain issues, or

   creating subclasses. Thus, the Court can amend Plaintiff’s proposed

   definition to reflect the[] specific time periods as to each Defendant.”)

         In the sections that follow, the Court will first explain why the

   Minors Damages and Injunctive Subclass is uncertifiable as a matter of

   Michigan law pursuant to the Federal Rules Enabling Act. The Court will

   then explain why all remaining Classes meet Rule 23(a)’s prerequisites

   for class certification. Next, the Court will explain why all proposed

   Damages     Subclasses    fail   to   meet   Rule   23(b)(3)’s   certification

   requirements. Finally, the Court will explain why the Multi-Defendant

   and LAN Issues Classes are certifiable pursuant to Rule 23(c)(4).




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            D. Certification of the Minors Damages and Injunctive
               Subclass is Impermissible Under Federal and Michigan
               Law

         Class Plaintiffs ask the Court to certify a Minors Damages and

   Injunctive Subclass encompassing “tens of thousands” of children under

   Federal Rule of Civil Procedure 23(b)(2) and (b)(3). (ECF No. 1207,

   PageID.34439.) Class Plaintiffs define this proposed Subclass as follows:

         [A]ll children who, during the period from May 1, 2014 to
         January 5, 2016, were (a) in utero or between the ages of 0 to
         10 years old, (b) lived in an identified residence or attended
         an identified school or day care, and (c) were exposed through
         ingestion to unfiltered Flint public water* at such residence,
         school or day care for at least 14 days within a 90 day period.
         * “Exposed through ingestion to unfiltered Flint public water”
         means the child (or their mother) was exposed to unfiltered
         tap water for at least 14 days during a 90 day period between
         May 1, 2014 and January 5, 2016, through any combination
         of the following ways:
              (1) For childhood exposure: the child drank unfiltered
              Flint tap water (or beverages prepared with unfiltered
              tap water, including infant formula), and/or ate food
              prepared with unfiltered tap water;
              (2) For in utero exposure, the mother drank unfiltered
              Flint tap water (or beverages prepared with unfiltered
              tap water), and/or ate food prepared with unfiltered
              Flint tap water, while pregnant.




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   (Id. at PageID.34418–34419.) For the reasons set forth below,

   certification of the Minors Subclass as a Rule 23(b)(3) Damages Class is

   impermissible because doing so would violate federal and Michigan law.

   Additionally, certification of the Minors Subclass as a Rule 23(b)(2)

   injunctive class is impermissible because the primary relief sought is

   monetary and contradicts the purpose of the Rule 23(b)(2) class device.

                 i. Certification of a Minors Rule (b)(3) Damages
                    Class is Impermissible
                      1. Background

         On November 6, 2020, the Court ordered Class Plaintiffs to provide

   supplemental briefing on the following three issues related to the Minors

   Damages Subclass:

      (1) The process by which A) Plaintiffs will locate each child; and
          B) the Court could appoint a legal guardian for each child in
          the class and minors[] subclass within the 75 days during
          which putative class members will be notified and have an
          opportunity to opt out;

      (2) Whether it is legally feasible, as well as practically
          manageable, to bind the minors and absent minor class
          members to the outcome of the trial’s liability phase; and

      (3) Whether it is legally feasible, as well as practically
          manageable, to bind the minors and absent minor class
          members in an opt-out damages settlement class before the

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         children reach the age of majority, should this class be
         certified and the action proceed to a point where the parties
         are considering settlement.

   (ECF No. 1308, PageID.39855–39856.) Class Plaintiffs provided the

   requested briefing on November 20, 2020. (ECF No. 1327.) In January

   2021, Defendants and Individual Plaintiffs addressed these issues in

   their responses to the motion for class certification. (ECF Nos. 1369,

   1390, 1392.) Class Plaintiffs replied on April 7, 2021. (ECF No. 1581.)

                       2. Analysis

         Certification of the Minors Damages Subclass is impermissible

   because it would violate the Rules Enabling Act, 28 U.S.C. § 2072(b), by

   abridging and/or modifying several substantive legal rights afforded to

   minors under Michigan law. Specifically, certification of the Minors

   Damages Subclass would unlawfully abridge the minors’ right to an

   individual court-appointed representative, would impermissibly abridge

   their right to contract upon reaching the age of majority by seeking to

   bind them to an opt-out class, and would impermissibly waive the tort

   claims of minors whose parents or representatives seek to settle the

   minors’ claims on their behalf.



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         The Rules Enabling Act “provides that court-created procedural

   rules, such as Rule 23 of the Federal Rules of Civil Procedure, ‘shall not

   abridge, enlarge, or modify any substantive right.’” Whitlock v. FSL

   Mgmt., LLC, 843 F.3d 1084, 1092 (6th Cir. 2016) (quoting 28 U.S.C. §

   2072(b)) (assuming, without deciding, that a Kentucky statute’s

   prohibition against class-action litigation is substantive for purposes of

   the Rules Enabling Act). Under the Rules Enabling Act, the Federal

   Rules of Civil Procedure do not apply where they abridge “[state

   procedural] rule[s that are] effectively part of the state substantive

   right.” Id. (citing Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins.

   Co., 559 U.S. 393, 422 (2010)). A procedural rule is one that “undeniably

   regulate[s] only the process for enforcing [] rights,” whereas a substantive

   rule “alter[s] the rights themselves, the available remedies, or the rules

   of decision by which the court adjudicate[s] either.” Stein v. Regions

   Morgan Keegan Select High Income Fund, Inc., 821 F.3d 780, 794 (6th

   Cir. 2016).

         In Michigan, a minor’s cause of action is the personal property of

   that minor. See Woodman ex rel. Woodman v. Kera LLC, 486 Mich. 228,

   253 (2010). Michigan law provides several substantive protections of


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   minors’ rights to control their own claims. These protections can be

   organized into three categories: (1) protections regarding the minors’

   ability to bring the claim itself; (2) protections regarding claim

   settlements; and (3) protections regarding the minors’ ability to abrogate

   a claim previously brought on their behalf upon reaching the age of

   majority. The protections are summarized below.

         Bringing a Claim. In terms of bringing a claim, Michigan law

   protects a minor’s right to personally “pursue and control” a claim by

   permitting the minor “to bring [their] cause of action within one year of

   reaching [the age of] majority.” Id. at 253. If a representative seeks to

   bring a claim on a minor’s behalf before that minor reaches the age of

   majority, Michigan law requires close scrutiny of the minor’s relationship

   to their representative: Under Michigan law, not even parents may bring

   a minor’s claim on the minor’s behalf without a court first formally

   appointing the parent as the minor’s representative. See Kilda v.

   Braman, 278 Mich. App. 60, 71 (2008) (citing Mich. Ct. R. 2.201(E)(1)).

   Where the minor’s next friend or guardian “is a person who has made a

   claim in the same action and will share in the settlement or judgment of

   the minor,” the Court must appoint a separate guardian ad litem to bring


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   the claim on the minor’s behalf. Mich. Ct. R. 2.420(b)(2); see Bowden v.

   Hutzel Hosp., 252 Mich. App. 566, 573 (2002) (“[T]he court ‘must’ appoint

   a guardian ad litem to represent the minor’s legal interests and thus

   secure the minor’s best interests during any and all proceedings.”). Even

   where a court has approved a representative for the minor, courts often

   require the minor’s presence when adjudicating the claim. For personal

   injury claims, courts require the minor to “appear in court personally to

   allow the judge an opportunity to observe the nature of the injury,” and

   the judge “may require medical testimony . . . if not satisfied of the extent

   of the injury.” Mich. Ct. R. 2.420(B)(1)(a)–(b).

         Settling the Claim. In terms of settling the claim, Michigan Court

   Rule 2.420 governs “settlements and judgments for minors and legally

   incapacitated individuals.” This rule “seeks to protect an interested

   minor child’s rights in settlement of a claim” by mandating the process

   by which those settlements can be approved. Bowden, 252 Mich. App. at

   532. Parents and guardians may not settle a minor’s claim without the

   court first determining that the settlement is fair and in the best

   interests of the minor. See Woodman, 486 Mich. at 253 (citing Mich. Ct.

   R. 2.420); see also O’Brien v. Loeb, 229 Mich. 405, 408 (1924). For a claim


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   for damages due to personal injury, the minor “shall appear in court

   personally to allow the judge an opportunity to observe the nature of the

   injury unless, for good cause, the judge excuses the minor’s [] presence.”

   Mich. Ct. R. 2.420(B)(1). For a settlement or judgment requiring payment

   of more than $5,000 to a minor, either immediately or in installments

   that exceed $5,000 in a single year, “a conservator must be appointed by

   the probate court before the entry of the judgment or dismissal.” Mich.

   Ct. R. 2.420(B)(4)(a).

         Abrogating the Claim. Finally, in terms of abrogating the claim,

   Michigan courts do not permit a minor’s parents or guardians to “waive,

   release, or compromise claims” belonging to minors without explicit

   statutory permission or strict court oversight. See, e.g., McKinstry v.

   Valley Obstetrics-Gynecology Clinic, P.C., 428 Mich. 167, 192–93 (1987)

   (holding that the Medical Malpractice Arbitration Act changed the

   common-law rule prohibiting parents from waiving, releasing, or

   compromising claims in the specific context of arbitrating disputes that

   arise out of prenatal care and childbirth); see Smith v. YMCA of Benton

   Harbor/St. Joseph, 216 Mich. App. 552, 554 (1996) (“[A]s a general rule,

   a parent has no authority, merely by virtue of being a parent, to waive,


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   release, or compromise claims by or against the parent’s child.”) A minor’s

   parent or guardian may not waive the minor’s tort claims because the

   parent or guardian lacks the capacity to contractually bind the minor.

   See Woodman, 486 Mich. at 253 (holding liability waiver signed by parent

   unenforceable). While parents and guardians have no special ability to

   abrogate a minor’s claim, Michigan courts hold that a minor lacks the

   capacity to contract and can later repudiate any agreement signed on

   their behalf upon reaching the age of majority. Id. at 255 (“[Minors’]

   contracts are not void but voidable.”); see also Everson v. Williams, 328

   Mich. App. 383, 394 (2019) (reiterating that “a parent is without

   authority to bind his child by contract” and that a deed signed by a child

   of eleven “can only be asserted against [the child] if she confirmed it after

   she reached the age of majority because it does not have a binding effect

   unless it is ratified”); Smith, 216 Mich. App. at 554 (reversing summary

   judgment to permit injured child who reached age of majority to bring

   action to recover, in contravention of released signed by parents when

   she was a minor). Upon reaching the age of majority, a minor has one

   year to bring a claim for events that occurred prior to the minor turning

   eighteen years of age. Mich. Comp. Laws § 600.5851(1).


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         The Michigan Supreme Court has stated that “[t]hese statutes

   evince a public policy firmly at odds with . . . autonomous parental control

   over a minor’s property rights . . . . The Legislature has consistently acted

   to preserve a minor’s property interest in his tort claims, and nothing in

   Michigan’s positive law indicates a legislative intent to . . . extend a

   parent’s authority.” Woodman, 486 Mich. at 254.

                         3. Application

         Certification of the Minors Damages Subclass would violate the

   Rules Enabling Act by abridging substantive protections that Michigan

   law provides regarding the minors’ ability to bring, settle, and abrogate

   their claims.18

         First, Class Plaintiffs do not set forth a mechanism by which the

   Court may appoint an individual representative for each minor; nor do

   they explain how such appointments would be possible within the

   seventy-five days that Class Plaintiffs allot for the class notice and opt-

   out period. These failures prevent the Court—both legally and


         18 Though the Court discusses in detail the ways in which class certification

   would abridge Michigan substantive protections for the minors’ abilities to
   potentially settle and later abrogate their claims, the Court notes that abridging
   claim-bringing protections alone is fatal to the certification of the Minors Damages
   Subclass under the Rules Enabling Act.
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   functionally—from complying with Michigan’s substantive protections

   for minors’ rights to their legal claims. As VNA notes in its opposition

   brief, in order to accomplish the task that Class Plaintiffs have set,

         [t]he Court would first need to solicit affidavits from each
         minor child’s parents or guardians attesting that the child
         ingested unfiltered Flint water for 14 days within a 90-day
         period after VNA’s initial report, and then determine the
         accuracy of each affidavit. Then the Court would need to
         determine the most suitable representative for each minor
         child and formally appoint that person.

         The Court could not feasibly complete those steps in 75 days
         or any other reasonable amount of time. It is not clear that
         the Court even could identify all of the members of the
         subclass in that time. Plaintiffs say that the minors subclass
         would number in the “tens of thousands.” They suggest that
         there are records of the minors in Flint, but offer no evidence
         that the records are complete. More importantly, they offer no
         evidence that the records identify the parents or guardians of
         the minors, much less that the records identify which parent
         is authorized to make decisions for the child (in cases where
         the parents are unmarried, separated, or divorced). Even if
         the Court could use the records Plaintiffs cite to identify all of
         the minors, the Court would need to take additional steps to
         identify parents or guardians.

         The Court also could not appoint representatives for each
         minor in the time Plaintiffs propose. Assuming that parents
         would need 30 days to read the notice certifying the subclass
         and prepare their affidavits, the Court would have only 45
         days to determine class membership and appoint

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         representatives for each minor. Assuming that there are
         20,000 minors, the Court would need to evaluate the claims of
         the minors at approximately a rate of one minor a minute, for
         eight hours a day, including weekends. That is unrealistic.

   (ECF No. 1367, PageID.43795.) Rather than describing a method by

   which the Court could feasibly undertake this process in compliance with

   Michigan law, Class Plaintiffs instead argue that the Court is “unlikely”

   to need to appoint representatives for each minor “because Federal Rule

   of Civil Procedure 17(c)(1) authorizes certain representatives, including

   a general guardian such as a parent to sue on behalf of a minor without

   action from the court.” (ECF No. 1327, PageID.41432.)

         However, applying Rule 17(c)(1) in this case is inconsistent with

   several Michigan laws that protect minors’ legal claims as personal

   property rights. See Woodman, 486 Mich. at 241 (“A right of action [in

   Michigan] is as much property as is a corporeal possession, and, in the

   case of a minor, is protected by the law in the same way and under the

   same securities.”). For example, lack of court involvement in the

   appointment of representatives violates Michigan Court Rule 2.201(E),

   which allows only a previously-appointed conservator or court-appointed

   “competent and responsible person to appear as next friend on [the


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   minor’s] behalf” to pursue a minor’s claim. Mich. Ct. R. 2.201(E)(1)(a)–

   (b).

          Class Plaintiffs next argue that the Court could forego individual

   appointments and instead “appoint a Master Guardian ad Litem as well

   as panels of approved guardians to represent the interests of Subclass

   Members who do not have an effective legal guardian . . . similar to the

   approach set forth in the Proposed Settlement to protect minors’ rights.”

   (ECF No. 1327, PageID.41433 (acknowledging that “[s]ome members of

   the proposed Minors Subclass will likely require appointment of a next

   friend or guardian to protect their interests”).)

          But appointing such guardian “panels” or a “Master” Guardian ad

   Litem in a litigation class context would also violate substantive

   Michigan law, which requires that the Court “shall” appoint the minor’s

   consenting choice of next friend or guardian ad litem (if the minor is

   fourteen years of age or older), or the minor’s next of kin or family friend

   (if the minor is under the age of fourteen), unless the Court finds the

   representative “unsuitable” in either case. Mich. Ct. R. 2.201(E)(2)(a)–

   (b). Put another way, Michigan law requires the Court to perform an

   individualized assessment of every proposed representative of a minor’s


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   civil claim.19 Michigan’s longstanding protections of minors’ claims are

   substantive in that they, unlike Federal Rule of Civil Procedure 17(c),

   entirely foreclose a representative’s ability to bring a claim on behalf of a

   minor without an individualized inquiry into the “suitability” of the

   representative as it pertains to that particular claim. See id. Applying

   Federal Rule 17(c), rather than Michigan law, would alter both the scope

   of the minor’s “right [itself],” as well as the “rule[] of decision by which

   the court adjudicate[s]” the right. Stein, 821 F.3d at 794. Accordingly, the

   Rules Enabling Act prohibits the Court from substituting Rule 17(c)’s

   claims-bringing procedures for Michigan’s entrenched substantive

   protections.20



         19 As the Court discussed in its Preliminary Settlement Approval Order, the

   Proposed Settlement contains ample protections for minors’ rights under Michigan
   law, and even goes so far as to “incorporate[] Michigan Court Rule 2.201(E), which
   sets forth the legal parameters applicable to proceedings involving a minor or
   incompetent person in Michigan.” (ECF No. 1399, PageID.54414.) Additionally, the
   Proposed Settlement contains a future minors’ fund for those who “failed for any
   reason to timely register for the Settlement Program”—preventing minors from being
   bound in an “opt-out” process like the proposed Minors Subclass at issue in this case.
   (See ECF No. 1319-1, PageID.40338.) In other words, there is no “minors class” in the
   Proposed Settlement—only a minors claims process that safeguards all relevant
   substantive and procedural rights under Michigan law.
          20 Class Plaintiffs do not substantively respond to the question of whether their

   proposed procedures violate the Rules Enabling Act, noting only in a footnote that
   they are “not so sure” that

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         The Court’s final question to Class Plaintiffs was whether it could

   bind minors to an opt-out settlement class should the parties reach such

   a point in the proceedings. But Class Plaintiffs do not substantively

   address the significant obstacle posed by Michigan’s protections allowing

   minors to repudiate any agreement signed on their behalf upon reaching

   the age of majority. See Woodman, 486 Mich. at 236–37. To the contrary,

   Class Plaintiffs acknowledge that Michigan law protects children by

   allowing parents to “contract on their child’s behalf . . . but if the child,

   through the parents, wishes to avoid that contract, the parent’s signature

   will not prevent it from doing so.” (ECF No. 1327, PageID.41437 (quoting

   Health Call of Detroit, Inc. v. Farmers Ins. Exch., No. 16-1345, 2017 WL



         Michigan’s procedural requirements for children are substantive in
         nature . . . . The power of federal courts to determine, for example, who
         has capacity to sue is well-founded. Because processes exist to comply
         with Michigan’s procedures in an efficient manner, however, Plaintiffs
         believe the parties and Court can refrain from a protracted discussion
         regarding the extent to which Michigan’s protections are “substantive”
         or “procedural” in nature.

   (ECF No. 1581, PageID.60922.) For the reasons set forth above, the Court concludes
   that minors’ rights protections in Michigan are substantive in nature and that even
   if “processes exist to comply with Michigan’s procedures in an efficient manner”—
   though the Court is not convinced of this—Class Plaintiffs have not shown that such
   procedures could also comply with the substantive protections embodied in Michigan
   law.


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   4005931, at *3 (E.D. Mich. Sept. 12, 2017)).) Class Plaintiffs also

   acknowledge that this aspect of Michigan law could “cast an unsettling

   shadow of uncertainty over any contractual resolution of minors’ claims”

   and note only that this concern “counsel[s] in favor of supplemental

   procedures to buttress the appropriateness of any negotiated resolution.”

   (Id. at PageID.41438 (emphasis in original).) In recognizing that

   contractual resolution will be accompanied by an “unsettling shadow of

   uncertainty,” Class Plaintiffs have aptly summarized the Court’s concern

   with any settlement as applied to the Minors Damages Subclass: “A

   settlement agreement is a contract.” Neely v. Miller Brewing Co., Inc., 25

   F. App’x 370, 372 (6th Cir. 2002).

         Class Plaintiffs have not demonstrated that the Court could certify

   a class of minors without violating the minors’ substantive rights under

   Michigan law to bring, settle, and abrogate their own claims.

   Accordingly, Rule 23(b)(3) certification of the Minors’ Damages Subclass

   is impermissible.

                  ii. Certification of a Minors Rule 23(b)(2) Injunctive
                      Relief Class is Impermissible

         Class Plaintiffs also seek certification for injunctive relief on behalf

   of the Minors Subclass pursuant to Rule 23(b)(2). (ECF No. 1207). Class
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   Plaintiffs sought a host of injunctive remedies against all Defendants in

   their initial class certification motion, but they have since limited their

   request for injunctive relief to medical monitoring in light of the pending

   settlement proceedings with the Government Defendants. (ECF No.

   1581, PageID.60926 (“Class Plaintiffs do not seek [relief that is broader

   than medical monitoring] from Engineering Defendants. Should

   litigation against the State, City, or other Government Defendants

   resume, Plaintiffs reserve the right to reinstate their request for broader

   injunctive relief against those Defendants.”).) Specifically, Class

   Plaintiffs seek

         [t]he creation of a coordinating body, with a Court-appointed
         Receiver/Monitor, to coordinate, oversee, identify, and fund
         new and existing programs and services designed to
         ameliorate the ongoing harms [and] provide relief to each
         member of the Injunctive Relief Class and Subclass. The
         coordinating body will ensure the provision of the following
         programs and services:

             Diagnostic and assessment services for the Minors
              Subclass, including neuropsychological testing;

             Intervention and amelioration programs for the Minors
              Subclass, including physical and mental health services,
              nutritional services, and academic and educational
              support;


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             Stress reduction and mental health community services
              for the Class, designed to reduce stress, treat mental
              health disorders, combat community trauma and
              support individuals and families; and

             A registry of participation, expanding upon the existing
              Flint Registry, to track services and outcomes for the
              Class, while preserving individual privacy.

   (ECF No. 1207, PageID.34526–34527.)

         Class certification for injunctive relief is appropriate when “the

   party opposing the class has acted or refused to act on grounds that apply

   generally to the class, so that final injunctive relief or corresponding

   declaratory relief is appropriate respecting the class as a whole.” Fed. R.

   Civ. P. 23(b)(2). This relief is not proper, however, when “the appropriate

   final relief relates exclusively or predominately to money damages.” Adv.

   Comm. Note to id.

         Injunctive relief is not appropriate in this case because Class

   Plaintiffs’ request—that the Court order Engineering Defendants to fund

   a medical monitoring program—relates “exclusively or predominately to

   money damages.”21 See id. Under Class Plaintiffs’ requested relief,



         21 It seems unlikely that the concerns animating Michigan’s protections for

   minors’ claims apply to purely injunctive relief. See Woodman, 486 Mich. at 253
   (noting that what belongs to the minor is the cause of action and the ultimate right
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   Engineering Defendants would not be “enjoined” from acting, or ordered

   to act, in the traditional equitable sense. Instead, the sole remedy from

   Engineering Defendants’ perspective would be to fund a program whose

   purpose—as counsel for Class Plaintiffs acknowledged at the class

   certification motion hearing—is to ultimately help ascertain individual

   “damages,” as well as “[t]he extent of [Class Plaintiffs’] injury and also

   what could be done to help them going forward.” (See ECF No. 1828,

   PageID.65207.) Class Plaintiffs’ trial plan also acknowledges as much,

   noting that the individualized medical monitoring evaluations will serve

   as a basis for the concurrent Rule 23(b)(3) personal injury damages

   claims at a later phase of the trial. (See ECF No. 1208-93, PageID.36064–

   36065 (“For each member of the Minors Subclass, an adjudicative

   proceeding to litigate their entitlement to damages will be provided . . .

   the adjudicative proceeding will be phased after the provision of a

   neuropsychiatric evaluation as part of the injunctive relief provided to

   Minors Subclass members if they prevail in the Phase One trial.”).)




   to settle his or her own claim). However, because the Court denies certification of the
   Rule 23(b)(2) class on separate grounds, the Court need not analyze this issue further.
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         The Sixth Circuit has not explicitly held that medical monitoring is

   appropriate Rule 23(b)(2) injunctive relief in the class certification

   context. Class Plaintiffs, however, argue that Boler v. Early—another

   case arising out of the Flint Water Crisis—is instructive here. In Boler,

   the Sixth Circuit held that Flint residents’ claims against the State were

   not barred by sovereign immunity under the Ex Parte Young doctrine

   because the “monetary impact [was] ancillary, i.e., not the primary

   purpose of the suit.” 865 F.3d 391, 412 (6th Cir. 2017). The specific

   reasoning relied upon by Class Plaintiffs is the Sixth Circuit’s

   commentary that the injunctive order “did not award money

   retroactively, but directed the state’s conduct in the future.” Id. In that

   case, the plaintiffs sought compensatory education, medical monitoring,

   and evaluation services from the State of Michigan defendants. Id. In

   analyzing the purpose of the plaintiffs’ requested relief, the Sixth Circuit

   noted that

         what the Complaint seeks here [is] to direct the Governor’s
         conduct in providing services to Plaintiffs affected by the Flint
         water crisis. The primary purpose of this relief is not to cost
         the State of Michigan money, but to provide relief to the
         Plaintiffs through compensatory education, medical
         monitoring, and evaluation services. A straightforward look


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         at the Complaint shows that this relief is properly
         characterized as prospective.

   Id. at 413.

         Boler is not instructive here. First, and most importantly, Boler was

   not a Rule 23(b)(2) class certification case, and it therefore did not

   address the crucial issue of whether medical monitoring could be

   considered a class injunctive remedy when its explicit purpose is to

   support future damages claims. Second, Boler involved government

   defendants with an ongoing government-citizen relationship to the

   injured plaintiffs and whose conduct in relation to those citizens could be

   “directed [] in the future,” whereas this case involves private Defendants

   whose only future contribution would be paying money into a medical

   monitoring fund and whose “future conduct” would not, and could not,

   otherwise be “directed.” Indeed, both LAN’s and VNA’s contracts with the

   City ended in 2015. (See ECF Nos. 1208-67, PageID.35436; 1369-22,

   PageID.45813.)

         Finally, even if Boler were a Rule 23(b)(2) class certification case

   and not an Ex Parte Young case, application of its reasoning would not

   support Class Plaintiffs’ argument. The plaintiffs in Boler sought

   compensatory education and evaluation services in addition to medical
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   monitoring. 865 F.3d at 413. In finding that the requested injunction

   properly “directed the state’s conduct in the future,” the Sixth Circuit

   likened the relief to “the Supreme Court[’s] order enjoining a state to

   provide education programs as a way of redressing past racial

   discrimination.” Id. In this case, however, Class Plaintiffs are not

   requesting that the Court order Engineering Defendants to provide

   forward-looking, broad programmatic relief to redress known damages;

   rather, Class Plaintiffs want the Court to order Engineering Defendants

   to fund a fact-finding medical program that—by Class Plaintiffs’ own

   admission—seeks to identify prospective damages Class Plaintiffs may

   have suffered by diagnosing currently-unknown medical issues.22



         22 Class Plaintiffs also reference a Third Circuit case called Baby Neal for and

   by Kanter v. Casey, which involved a putative class of foster care children suing the
   municipality charged with their care for constitutional violations. 43 F.3d 48 (3d Cir.
   1994). In Baby Neal, the putative class sought numerous programmatic reforms,
   including “medical and psychiatric treatment” and the implementation of
   “procedures, personnel, programs, and facilities that are necessary to deal effectively
   with child abuse and neglect.” Id. at 52. Class Plaintiffs cite Baby Neal for the
   propositions that (1) the Rule 23(b)(2) requirement is “almost automatically satisfied”
   in cases primarily seeking injunctive relief; and (2) “like Baby Neal, the proposed
   programmatic relief—including diagnostic, evaluation, mitigation, and intervention
   programs—will inure to the benefit of the entire Class and will provide prospective
   relief to ameliorate the harm/damage caused by the Flint Water Crisis.” (ECF No.
   1207, PageID.34529.) However, even if Baby Neal was binding precedent, it would
   not be applicable to this case for a number of reasons. First, as discussed above, Class
   Plaintiffs are not primarily seeking injunctive relief, which is a major contrast to the
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         The Sixth Circuit has not directly addressed this issue; however,

   courts in other circuits have held that similar requests for medical

   monitoring are not requests for injunctive relief and are actually requests

   for money damages to pay for the plaintiffs’ diagnosis and/or treatment.

   See Zinser v. Accufix Res. Inst., 253 F.3d 1180, 1196 (9th Cir. 2001)

   (holding that medical monitoring injunctive relief is “merely incidental

   to the primary claim for money damages” because plaintiffs sought “the

   establishment of a reserve fund for past and future damages,

   compensation for future medical treatment, plus other compensatory and

   punitive damages”); Boughton v. Cotter Corp., 65 F.3d 823, 827 (10th Cir.

   1995) (upholding the district court’s ruling that “while plaintiffs’ claims




   plaintiffs in Baby Neal. See 43 F.3d at 64 (stating that “[t]he fact that plaintiffs in
   [Baby Neal] seek only injunctive and declaratory relief, not individual damages,
   further enhances the appropriateness of the class treatment”). Second, like Boler v.
   Early, 865 F.3d at 412, Baby Neal did not analyze the difference between a damages
   and an injunctive remedy, and instead reversed the district court’s conclusion on a
   different Rule 23(b)(2) class certification requirement—that “the claims for relief
   were not generally applicable to the class.” 43 F.3d at 64. Baby Neal therefore
   provides no guidance for distinguishing between damages and injunctive remedies,
   as the Court must do here. Finally, like Boler, the Baby Neal injunction mandated
   forward-looking, broad programmatic reforms beyond medical monitoring that
   sought to change the government defendants’ behavior into the future, including
   “programs and facilities that are necessary to deal effectively with child abuse and
   neglect.” Id. at 52. Such a request is in stark contrast to Class Plaintiffs’ request for
   a monetary fund.
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   relating to medical monitoring, if brought by themselves, might

   constitute a proper basis for certifying this suit under Rule 23(b)(2)[,] . .

   . [this] relief is predominately money damages”); Arch v. Am. Tobacco Co.,

   175 F.R.D. 469, 484 (E.D. Pa. 1997), aff’d sub nom. Barnes v. Am. Tobacco

   Co., 161 F.3d 127 (3d Cir. 1998) (stating that “[p]laintiffs’ medical

   monitoring claim is merely a thinly disguised claim for future damages”

   and that “the overwhelming majority of the relief sought by plaintiffs in

   their entire complaint is monetary in nature”).

         The reasoning in these cases is persuasive. While some medical

   monitoring injunction requests may be appropriately forward-looking,

   the medical monitoring injunction as framed in this case is ancillary to

   the overarching goal of obtaining money damages for Class Plaintiffs.

   Accordingly, the Court denies Rule 23(b)(2) certification of a Minors

   Subclass that seeks injunctive relief.23

            E. All Proposed Issues and Damages Classes Meet the
               Rule 23(a) Prerequisites to Class Certification



         23 Defendants also argue that the Minors Subclass is insufficiently homogenous

   to render the requested injunctive relief appropriate. (See, e.g., ECF No. 1369,
   PageID.45479–45480.) Because the Court denies certification on the grounds that the
   requested remedy relates predominately to money damages, the Court declines to
   address this issue.
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         In order to certify an issues or damages class, Class Plaintiffs must

   first show that each proposed class meets the four prerequisites of Rule

   23(a):   numerosity,       commonality,       typicality,     and    adequacy   of

   representation. Fed. R. Civ. P. 23(a). For the reasons set forth below, the

   Court finds that Class Plaintiffs have demonstrated that all proposed

   classes—the Multi-Defendant Issues Class, the LAN Issues Class, the

   Residential Property Damages Subclass, and the Business Damages

   Subclass—meet these requirements.24

                   i. Numerosity

         To satisfy the numerosity requirement, Class Plaintiffs must

   demonstrate that the class is “so numerous that joinder of all members

   is impracticable.” Fed. R. Civ. P. 23(a)(1). There are “no strict numerical

   test[s] for determining impracticability of joinder.” In re Am. Med. Sys.,

   Inc., 75 F.3d at 1079. Rather, numerosity “requires examination of the

   specific facts of each case and imposes no absolute limitations . . . . When

   class size reaches substantial proportions, however, the impracticability




         24 Because the Minors Damages and Injunctive Subclass is uncertifiable on

   separate grounds, see supra at 55, the Court will not analyze it here.
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   requirement is usually satisfied by the numbers alone.” Id. (quoting Gen.

   Tel. Co. v. EEOC, 446 U.S. 318, 330 (1980)).

         Here, the proposed classes meet the numerosity requirement

   because they comprise thousands of individuals and hundreds of

   businesses in Flint, Michigan. See Garner Prop. & Mgmt., LLC, 333

   F.R.D. at 622 (“[A] class of 40 or more members is sufficient to satisfy the

   numerosity requirement.”); Davidson v. Henkel, 302 F.R.D. 427, 436

   (E.D. Mich. 2014) (finding that numerosity is satisfied with a putative

   class of at least “between 21 and 40” members). Class Plaintiffs point to

   the 2010 Census indicating that the population of Flint, Michigan at that

   time exceeded 100,000 people, and the Court infers that the Flint

   population from 2014 through 2020 would be reasonably close to this

   number. (See ECF No. 1207, PageID.34472 (citing QuickFacts, United

   States Census Bureau (Apr. 1, 2010), https://perma.cc/7WS9-77ZV).)

   Class Plaintiffs also provide an expert report prepared by regional

   planner Dr. Robert A. Simons concluding that approximately 700

   business enterprises in Flint may have been detrimentally impacted by

   the Flint Water Crisis. (See id. (citing ECF No. 1208-97).) Finally, Class

   Plaintiffs provide an expert report prepared by real estate consultant Mr.


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   R. Bruce Gamble concluding that more than 30,000 single- and multi-

   family residential properties, as well as more than 5,000 multi-family

   units, were impacted by the Water Crisis.25 (Id. (citing ECF No. 1208-

   96).) The evidence does not suggest that the hundreds of individual

   lawsuits meaningfully detracts from either of these numbers.

         No party contests Class Plaintiffs’ satisfaction of the numerosity

   requirement. Considering the thousands of individuals who could

   comprise the Multi-Defendant and LAN Issues Classes and the

   Residential Property Damages Subclass, as well as the approximately

   700 business that could comprise the Business Damages Subclass, Class

   Plaintiffs have met the numerosity requirement of Federal Rule of Civil

   Procedure 23(a)(1).

                   ii. Commonality

         To satisfy the commonality requirement, Class Plaintiffs must

   demonstrate that there are “questions of law or fact common to the class.”

   Fed. R. Civ. P. 23(a)(2). Though the rule “speaks of ‘questions’ in the


         25 The Court notes that VNA is currently seeking to exclude both Dr. Simons’

   and Mr. Gamble’s expert testimony and reports through Daubert challenges. (ECF
   Nos. 1372, 1383.) The Court relies on the above-cited statistics that appear in these
   reports, which none of the opposing parties challenge, solely to determine that the
   numerosity requirement is met.
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   plural, [the Sixth Circuit has] said that there need only be one question

   common to the class.” See Sprague v. Gen. Motors Corp., 133 F.3d 388,

   397 (6th Cir. 1998) (emphasis added). However, this one question must

   represent “a common issue the resolution of which will advance the

   litigation.” Id. The common question “must be of such a nature that it is

   capable of classwide resolution—which means that determination of its

   truth or falsity will resolve an issue that is central to the validity of each

   one of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S.

   338, 350 (2011).

         In their motion for class certification and subsequent reply, Class

   Plaintiffs assert that there are at least six questions common to all

   Classes that satisfy the commonality requirement:

         (1) Did LAN and/or VNA owe a duty to [third parties] as a
             result of their contracts with the City and, if so, what was
             the scope of that duty? What is the applicable standard of
             care in a professional engineering case?

         (2) Whether LAN and/or VNA breached their duty or duties
             owed to Class Plaintiffs by failing to provide appropriate
             advice to the City of Flint regarding treating the water, and
             whether any such breach was malicious, willful, and
             wanton as to disregard Class Plaintiffs’ rights?



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         (3) What was the role of LAN and VNA in creating the
             contamination of Flint’s water supply[,] including their
             involvement in the decisions to switch to the Flint River as
             a water source, refrain from using corrosion control at the
             Flint Water Treatment Plant (“FWTP”), and conceal
             information related to the safety of Flint’s water supply?

         (4) Did LAN and/or VNA’s conduct cause corrosive water
             conditions in the Flint water distribution system? To what
             extent were other actors at fault for causing corrosive
             water conditions in the Flint water distribution system and
             how should fault be allocated among all those responsible?

         (5) Did the corrosive water conditions caused by LAN and/or
             VNA cause harm to Flint residents, property, and
             businesses?

         (6) Whether the Engineering Defendants’ professional
             negligence directly and proximately caused the Flint water
             system to be contaminated with corrosive water, and
             thereby resulted in property damage to members of the
             Classes, harm to members of the Classes resulting from
             exposure to lead and dangerous bacteria, and/or increased
             the risk of harm to the Class and/or Subclass?

   (ECF Nos. 1207, PageID.34473; 1581, PageID.60799–60801.) As

   indicated above, the Court is intimately familiar with the factual and

   legal issues in this case after years of litigation. In finding commonality

   satisfied here, the Court need go no further than the first two questions

   raised: whether LAN and VNA owed a duty to third parties as a result of

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   their contracts with the City of Flint, and whether certain actions—and

   failures to act—made as water consultants to the City constituted a

   breach of that duty.26 The premise of this litigation as it pertains to

   Engineering Defendants is that they committed professional negligence

   by breaching a legal duty owed to Class Plaintiffs that proximately

   resulted in damages to class members. (See ECF No. 1207,




          26 For example, as to LAN, Class Plaintiffs allege as common factual issues

   that

          LAN should have been aware that the Lead and Copper Rule (LCR) and
          standard engineering practices require that a corrosion control study be
          performed prior to allowing a switch from one water source to another .
          . . . Not only was it part of LAN’s basic job as an engineer to identify
          that, absent corrosion control, using Flint River water would threaten
          residents’ health, they had a professional responsibility to report the
          problem and require that it be addressed.

   (ECF No. 1207, PageID.34493–34494.) As to VNA, Class Plaintiffs allege that it

          failed to perform standard calculations that would have alerted the City
          to the immediate need for corrosion control; failed to include the need
          for corrosion control for lead in any of its reports; failed to alert the City
          to a serious threat to public health and safety; advised an increase in
          ferric chloride that would actually make corrosion worse; and failed to
          advise that switching back to DWSD was the “best technical solution,”
          and potentially ”safest” solution for Flint.

   (Id. at PageID.34494.) These factual questions underpin the legal issues of duty,
   breach, and causation, and—at this stage of the proceedings—fairly represent issues
   common to the Classes as a whole.
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   PageID.34488–34489.) Accordingly, questions that determine the scope

   of LAN’s and VNA’s duty as a result of their contracts with the City—as

   well as their alleged breach of that duty through actions that impacted

   the contamination of the City’s water supply—constitute “common

   issue[s] the resolution of which will advance the litigation.” See Sprague,

   133 F.3d at 397.

         VNA, LAN, and Individual Plaintiffs argue that individual

   differences among the Class Plaintiffs’ claims defeat commonality. (See

   ECF No. 1369, PageID.45432–45433 (VNA arguing that “the questions

   [Class] Plaintiffs identify are not common to the entire class” because

   “some members of the class left Flint or stopped using Flint water before

   VNA arrived in Flint [and] determining which class members have those

   claims would require individualized inquiries into each person’s

   circumstances” (emphasis in original)); ECF No. 1390, PageID.53919–

   53920 (LAN arguing that “[a]t minimum, commonality requires that the

   class members have suffered the same injury [and n]ot every class

   member [in this case] alleges every form of injury”); ECF No. 1392,

   PageID.54004–54005 (Individual Plaintiffs arguing generally that Class

   Plaintiffs cannot meet the standard for commonality because they cannot


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   demonstrate    that   they   have    “suffered   the   same    injury”   and

   “[d]issimilarities within the proposed class [] have the potential to impede

   the generation of common answers” (citing Wal-Mart Stores, Inc. v.

   Dukes, 564 U.S. at 350)).) But the commonality threshold is far lower

   than the opposing parties make it out to be. The Supreme Court recently

   clarified in Wal-Mart Stores, Inc. v. Dukes that “[c]ommonality requires

   the plaintiff to demonstrate that the class members have suffered the

   same injury.” 564 U.S. at 460. However, the Sixth Circuit instructs that

   this standard does not require either an inquiry into the merits of Class

   Plaintiffs’ case or that their alleged injuries be identical. See Rikos v.

   Procter & Gamble Co., 799 F.3d 497, 505 (6th Cir. 2015) (concluding that

   Wal-Mart’s holding does not permit district courts to “engage in free-

   ranging merits inquiries at the certification stage”). As the Sixth Circuit

   explained in Rikos v. Procter & Gamble Co.,

         [w]hether the district court properly certified the class turns
         on whether Plaintiffs have shown, for purposes of Rule
         23(a)(2), that they can prove—not that they have already
         shown—that all members of the class have suffered the “same
         injury.” Dukes, 131 S. Ct. at 2551. The Supreme Court in
         Dukes did not hold that named class plaintiffs must prove at
         the class-certification stage that all or most class members
         were in fact injured to meet this requirement. Rather, the
         Court held that named plaintiffs must show that their claims
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         “depend upon a common contention” that is “of such a nature
         that it is capable of classwide resolution—which means that
         determination of its truth or falsity will resolve an issue that
         is central to the validity of each one of the claims in one
         stroke.” Id. (emphasis added). In other words, named
         plaintiffs must show that there is a common question that will
         yield a common answer for the class (to be resolved later at
         the merits stage), and that the common answer relates to the
         actual theory of liability in the case.

   Id. at 505–06 (emphasis in original).

         Here, the arguments made by VNA, LAN, and Individual Plaintiffs

   about individual differences among Class Plaintiffs would require the

   Court to engage in a broader merits-based inquiry regarding actual

   injury at the commonality stage. But such an inquiry is not necessary at

   this point in the analysis, which requires only that the Court find that

   Class Plaintiffs demonstrate that “a common question will yield a

   common answer for the class” and that “the common answer relates to

   the actual theory of liability in the case.” Id. at 505. Aspects of Class

   Plaintiffs’ professional negligence claim related to duty, breach, and

   causation, as well as many of the underlying factual questions identified

   by Class Plaintiffs, could fairly generate a “common answer relat[ing] to

   the actual theory of liability in the case.” Id. The existence of these

   common questions are therefore sufficient for the purpose of Rule 23(a)(2)
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   commonality. There could not and would not be different factual findings

   in separate cases.

         Accordingly,    Class   Plaintiffs   have    met   the    commonality

   requirement of Federal Rule of Civil Procedure 23(a)(2).

                  iii.     Typicality

         The typicality requirement of Rule 23(a) tends to “merge” with that

   rule’s commonality requirement. Id. at 509 (quoting Dukes, 131 S. Ct. at

   2551 n.5). To satisfy the typicality requirement, Class Plaintiffs must

   demonstrate that “the claims or defenses of the representative parties

   are typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3).

   A claim is “typical” if “it arises from the same event or practice or course

   of conduct that gives rise to the claims of other class members, and if his

   or her claims are based on the same legal theory.” Beattie v. CenturyTel,

   Inc., 511 F.3d 554, 561 (6th Cir. 2007); see also Sprague, 133 F.3d at 399

   (“The premise of the typicality requirement is simply stated: as goes the

   claim of the named plaintiff, so go the claims of the class.”). Typicality

   does not require that the named plaintiffs’ claims be identical to every

   claim within the broader class, but rather, that “the representative




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   plaintiff’s interests [] be aligned with those of the class.” Powers, 501 F.3d

   at 618 (emphasis added).

          In this case, the claims of the representatives of each proposed

   class—the Multi-Defendant and LAN Issues Classes, the Residential

   Property Damages Subclass, and the Business Damages Subclass—

   satisfy the typicality requirement because the representatives’ claims (1)

   “arise[] from the same event or practice or course of conduct that gives

   rise to the claims of other class members”; and (2) are “based on the same

   legal theor[ies]” as other class members’ claims. See Beattie, 511 F.3d at

   561.

          Specifically, the Multi-Defendant and LAN Issues Classes

   Representatives—Rhonda Kelso, on behalf of herself and her minor child,

   K.E.K.,    and   Barbara    and    Darrell    Davis—are     individuals    or

   representatives of individuals who allege that they resided in Flint,

   Michigan and used the City’s tap water to drink, cook, wash, and/or bathe

   during the relevant time period; and suffered financial and property

   damage as a result of Defendants’ actions, including the loss of use and

   enjoyment of their homes. (See ECF No. 1207, PageID.34475.) These

   claims align with the claims of absent class members who, “for any period


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   of time between April 25, 2014 and October 16, 2015 were exposed to or

   purchased drinking water supplied by the City of Flint, owned real

   property in the City of Flint, or owned or operated a business in the City

   of Flint.” (Id. at PageID.34469.)

         The Residential Property Damages Subclass Representatives—

   Elnora Carthan and David Munoz—are individuals who allege that they

   owned homes in Flint during the relevant time period, received water

   distributed by the City of Flint, and suffered diminished property and

   appliance values as a result of Defendants’ actions. (See id. at

   PageID.34475–34476.) These claims align with the claims of absent

   Residential   Property    Damages     Subclass    members     who    “owned

   residential property within the City of Flint at any time during the period

   from April 25, 2014 through December 14, 2015.” (ECF No. 1829,

   PageID.65286.)

         The Business Damages Subclass Representatives—635 South

   Saginaw LLC (a/k/a “Cork on Saginaw”), Frances Gilcreast, and Neil

   Helmkay—are all individuals or entities alleging that they owned at least

   one commercial property in Flint during the relevant period and that

   they suffered diminished profits due to the public’s reticence to patronize


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   Flint businesses as a result of Defendants’ actions. (ECF No. 1207,

   PageID.34477.) These claims align with the claims of absent Business

   Damages Subclass members who, “as of April 25, 2014, owned and

   operated a business within the City of Flint that falls within one of the

   following North American Industry Classification System (‘NAICS’)

   codes: 812111, 812112, 812113, 812990, and 722511.” (ECF No. 1829,

   PageID.65289.)

         In arguing that Class Plaintiffs cannot show that the typicality

   requirement is met, VNA, LAN, and Individual Plaintiffs largely repeat

   their commonality arguments. (See ECF No. 1369, PageID.45434 (VNA

   arguing that “[b]ecause each plaintiff’s claims depend heavily on

   individualized issues, the named plaintiffs’ claims are not typical of the

   absent class members’ claims . . . . Here, there is no ‘typical’ Flint

   plaintiff.”); ECF No. 1390, PageID.53920 (LAN repeating verbatim its

   argument that typicality and commonality both require class members to

   have suffered the “same injury”); ECF No. 1392, PageID.54034–54035

   (Individual Plaintiffs arguing that, “[g]iven the wide range of injuries

   caused by lead, [certain] class representatives of the Litigation Class do

   not meet the typicality requirement . . . . A class containing such a wide


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   range of injuries and characteristics cannot meet the typicality

   requirement because it is impossible for a handful of representative

   plaintiffs to capture the full universe of individualized experiences and

   claims.”).) But the various individual differences they identify are

   insufficient to defeat typicality, especially where, as here, the Court is

   certifying two Issues Classes solely for the purpose of resolving issues

   that are common to these Classes. See infra at 118. The Sixth Circuit has

   made clear that typicality is not defeated, even if “the plaintiffs’ claims

   would be subject to varied defenses,” when as here, “[t]he plaintiffs’

   evidence appears to follow a pattern, [] the people they claim made the

   representations are largely the same people,” and “the evidence var[ying]

   from plaintiff to plaintiff [does] not affect th[e] basic claim.” Bittinger v.

   Tecumseh Products Co., 123 F.3d 877, 884 (6th Cir. 1997) (dismissing

   individual factual differences among the plaintiffs because “the test for

   typicality, like commonality, is not demanding and does not require

   identicality”).

         In this case, each named Class Plaintiff allegedly relies upon the

   same course of conduct undertaken by Defendants in order to prove their

   claims. The Sixth Circuit found in a different case that these types of


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   allegations are sufficient to sustain typicality at this stage of the

   proceedings. See id. at 885 (“Though the level of claimed injury may vary

   throughout the class[,] the basic injury asserted is the same . . . [and]

   those differences that exist [] can be dealt with through methods other

   than denial of class certification, at a later stage in the proceeding.”).

         Accordingly, because the class representatives’ claims arise from

   the same course of Defendants’ conduct as those of the putative class

   members, the Court finds that Class Plaintiffs have met the typicality

   requirement of Federal Rule of Civil Procedure 23(a)(3).

                 iv. Adequacy of Representation

         To satisfy the adequacy requirement, Class Plaintiffs must

   demonstrate that the class representatives “will fairly and adequately

   protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). “There are two

   criteria for determining whether the representation of the class will be

   adequate: (1) the representatives must have common interests with

   unnamed members of the class; and (2) it must appear that the

   representatives will vigorously prosecute the interests of the class

   through qualified counsel.” Senter v. Gen. Motors Corp., 532 F.2d 511,

   524–25 (6th Cir. 1976). “Thus, the linchpin of the adequacy requirement


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   is the alignment of interests and incentives between the representative

   plaintiffs and the rest of the class.” Garner Prop. & Mgmt, LLC, 333

   F.R.D. at 624 (quoting In re Dry Max Pampers Litig., 724 F.3d 713, 721

   (6th Cir. 2013)).

                       1. Common Interests

         The requirement of common interests is met here because the class

   representatives in this case all seek to “hold Defendants liable for the

   same misconduct.” (ECF No. 1207, PageID.34479.) As set forth above, the

   interests of the representatives of each proposed Class and Subclass are

   common to those of the unnamed members. Therefore, the “common

   interests” requirement is satisfied. See Senter, 532 F.2d at 524–25.

         In arguing that the proposed Class Representatives do not have

   interests common with the class members, the opposing parties refine

   and repeat their typicality and commonality arguments, but neither

   argument defeats adequacy. Specifically, VNA argues that “[t]he lack of

   typicality also means that the proposed class representatives are not

   adequate representatives of the absent class members.” (ECF No. 1369,

   PageID.45437.) But here, the Court has found typicality met.




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         Individual Plaintiffs argue that the “class members within the

   Litigation Class are simply too varied to be adequately represented by a

   small number of named plaintiffs” and that a conflict of interest arises

         between (i) class members who have already suffered severe
         injuries as a result of contaminated water—death, severe
         neurological defects, or infertility—and would therefore
         prefer to assert claims for maximum compensation as soon as
         possible, and (ii) class members who have suffered less severe
         injuries and hence favor smaller immediate payouts, in order
         to ensure sufficient compensation in the future, in case their
         injuries worsen.

   (ECF No. 1392, PageID.54037–54038.) For this proposition, Individual

   Plaintiffs rely on the Supreme Court’s determination in Amchem

   Products, Inc. v. Windsor that “essential allocation decisions” defeated

   adequacy for the purposes of settlement when “the settling parties

   [sought to] achieve[] a global compromise with no structural assurance of

   fair and adequate representation for the diverse groups and individuals

   affected.” (Id. at PageID.54039–54040 (quoting 521 U.S. 591, 627 (1997)).)

         However, the Supreme Court’s adequacy concern in Amchem was

   largely that the settlement created no subclasses. See 521 U.S. at 627

   (“[W]here differences among members of a class are such that subclasses

   must be established, we know of no authority that permits a court to


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   approve a settlement without creating subclasses on the basis of consents

   by members of a unitary class, some of whom happen to be members of

   distinct subgroups.” (quoting In re Joint E. & S. Dist. Asbestos Litig., 982

   F.2d 721, 742–43 (2d. Cir. 1992))). There is no such concern in this case.

   Nor would the potential damages allocation concerns identified by

   Individual Plaintiffs impact certification of a Rule 23(c)(4) issues class,

   which does not seek damages on a class-wide basis.

                       2. Vigorous Prosecution

         As to the second adequacy requirement, the Court concludes that

   the named Class Plaintiffs will, through qualified counsel, “vigorously

   prosecute the interests of the class.” Senter, 532 F.2d at 524–25. The

   Court is familiar with the parties, class representatives, Interim Co-Lead

   Class Counsel, and Interim Executive Committee members in this case

   through the previous five years of litigation described above. After

   initially appointing Theodore J. Leopold and Michael L. Pitt as Interim

   Co-Lead Class Counsel in July 2017, the Court reappointed them three

   times, in December 2018, December 2019, and December 2020. (ECF Nos.

   696, 1021, 1306.) The Court is aware of Class Counsel’s many thousands

   of hours of work expended in pursuit of Class Plaintiffs’ claims and

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   concludes that Class Counsel demonstrate the qualifications and

   experience necessary to adequately and fairly represent their clients in

   this case. The Court is confident that Class Counsel will vigorously

   prosecute the interests of the Classes.27

         Individual Plaintiffs argue that “Class Counsel suffer from their

   own disqualifying conflict of interest.” (ECF No. 1392, PageID.54041.)

   Specifically, Individual Plaintiffs argue that Class Counsel “propose to

   represent a sprawling ‘General Class’ and trio of enormous Subclasses

   simultaneously” and that these “different groups [are] characterized by

   different criteria, different kinds of injuries, different claims, and

   different time periods, all competing for the same finite resources that

   will be available to resolve the wide variety of claims asserted in this

   case.” (Id. (noting, for example, that there are “different eligibility

   criteria in the respective definitions of the [Proposed “Master” Issues]

   Class and the Minors [] Subclass” and wondering whether “the disparity

   between the two definitions [where “Master” Issues Class members may


         27 The Court has recently raised concerns about Class Counsel regarding the

   proposed settlement. However, these concerns do not relate to Class Counsel’s ability
   to adequately and fairly represent their clients in this action against the two
   Engineering Defendants and to vigorously prosecute the interest of the Issues
   Classses.
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   have received the City’s drinking water for any length of time during the

   Class Period, whereas Minors Subclass members must have received

   water for at least 14 days during a 90 day period] raises the question [of]

   whether Class Counsel are treating adults and children equally, or

   whether they are trading off the interests of one against the other, by

   making it more difficult for children to qualify for membership in the

   Minors [] Subclass”).) Moreover, Individual Plaintiffs cite the Supreme

   Court’s decision in Ortiz v. Fireboard Corp. for the proposition that the

   same counsel cannot represent multiple classes due to the conflicting

   interests created by disparate class definitions and allocation claims. (See

   id. at PageID.54042–54043 (citing 527 U.S. 815, 856 (1999).)

         Individual Plaintiffs’ reliance on Ortiz is misplaced. As with

   Amchem, Ortiz involved certification of a master settlement class with no

   subclasses, and the adequacy concern revolved around a “deficienc[y]” in

   the “fairness of the distribution of the fund among class members” at the

   settlement stage. 527 U.S. at 855. In concluding that “a class divided

   between holders of present and future claims . . . requires division into

   homogenous     subclasses    under    Rule   23(c)(4)(B),   with   separate

   representation to eliminate conflicting interests of counsel,” the Ortiz


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   Court explained that its rationale for such a requirement at the

   settlement stage was to “seek equity by providing for procedures to

   resolve the difficult issues of treating such differently situated claimants

   with fairness as among themselves.” Id. at 855–56. Such a concern is

   inapplicable here, where the Court is certifying these Classes for trial

   only on specified liability issues.

         Additionally, while Individual Plaintiffs are correct that Class

   Counsel propose to represent distinct classes in pursuit of a common

   recovery fund, such representation is common—and often encouraged—

   in class action proceedings:

         [O]nly client conflicts that are material and presently
         manifest—rather than merely trivial, speculative, or
         contingent on the occurrence of a future event—will affect the
         adequacy of class counsel. . . . In general, class counsel may
         represent multiple sets of litigants—whether in the same
         action or in a related proceeding—so long as the litigants’
         interests are not inherently opposed. Indeed, courts have
         recognized that concurrent representation may enable
         counsel to leverage a better settlement for [all] sets of
         plaintiffs due to a defendant’s desire to obtain a global
         resolution. Representing multiple clients in parallel
         proceedings will also benefit the class to the extent that class
         counsel gain useful legal and factual knowledge in pursuing
         the concurrent action.



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   William B. Rubinstein, Newberg on Class Actions § 3:75 (5th ed. 2020).

   At this stage of the case, there is no indication that the class definitions

   alone render Class Counsel’s interests “inherently opposed”—though

   Class Plaintiffs acknowledge that there could be a potential conflict in

   the future if the Court were to certify damages classes. (ECF No. 1581,

   PageID.60911.) Insofar as the Court is not certifying damages classes,

   however, see infra at 100, such a concern is speculative at this time and

   insufficient to defeat the adequacy requirement for certification of the

   proposed Classes.28



         28 Individual Plaintiffs also “speculate” that Class Counsel may be conflicted

   by the desire for “a settlement that would give them a generous fee.” (ECF No. 1392,
   PageID.54047–54048 (“Unitary representation of separate classes and subclasses as
   a part of the proposed Litigation Class in this case creates unacceptable incentives
   for Class Counsel to trade-off some plaintiffs against others in order to somehow
   reach a settlement.”).) However, Individual Plaintiffs do not expound upon this
   speculation, and the Court is both unwilling and unable to rely upon it as a reason to
   find Class Counsel inadequate. The Sixth Circuit has repeatedly emphasized that,
   “[o]nly when attacks on the credibility of the representative party are so sharp as to
   jeopardize the interests of absent class members should such attacks render a
   putative class representative inadequate.” Vassalle v. Midland Funding LLC, 708
   F.3d 747, 757 (6th Cir. 2013) (quoting Gooch v. Life Invs. Ins. Co. of Am., 672 F.3d
   402, 431 (6th Cir. 2012)).
          As to Individual Plaintiffs’ concern about fair representation at the allocation
   and/or settlement phase: Should proceedings in this case reach the settlement stage,
   the Court will appoint subclass settlement counsel as it did for the partial settlement
   currently pending before the undersigned. (ECF No. 929.)


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         Accordingly, Class Plaintiffs have met the adequacy requirement of

   Federal Rule of Civil Procedure 23(a)(4) for purposes of class certification.

            F. None of the Proposed                   Rule      23(b)(3)    Damages
               Subclasses are Certifiable

         As previously discussed, Class Plaintiffs have demonstrated that

   all proposed classes meet the Rule 23(a) prerequisites to class

   certification. For Class Plaintiffs’ proposed Damages Subclasses, the next

   step is to determine whether the Rule 23(b)(3) damages requirements are

   met. See Fed. R. Civ. P. 23(b)(3).

         Class Plaintiffs’ proposed remaining29 Damages Subclasses are:

         Residential Property Damages Subclass (Rule 23b)(3))
         All persons and entities who owned residential property
         within the City of Flint at any time during the period from
         April 25, 2014 through December 14, 2015.

         Business Damages Subclass (Rule 23(b)(3))
          All persons and entities who, as of April 25, 2014 owned and
         operated a business within the City of Flint that falls within
         one of the following North American Industry Classification
         System (“NAICS”) codes: 812111, 812112, 812113, 812990,
         and 722511.



         29 Because the Minors Damages and Injunctive Subclass is uncertifiable on

   separate grounds, see supra at 55, the Court will not analyze it here.

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   (ECF No. 1829, PageID.65286, 65289.)

         Federal Rule of Civil Procedure 23(b)(3) authorizes class

   certification for damages when three requirements are met: first,

   common questions of law or fact must “predominate” in the litigation;

   second, collective action must be “superior” to other methods of

   adjudicating the claims; and third, plaintiffs must demonstrate that the

   class members are “ascertainable.” See Fed. R. Civ. P. 23(b)(3); Sandusky

   Wellness Ctr., LLC v. ASD Specialty Healthcare, Inc., 863 F.3d 460, 466

   (6th Cir. 2017).

         The predominance and superiority requirements are specifically

   enumerated in the federal rule, and their purpose is to ensure that courts

   certify only “those cases in which a class action would achieve economies

   of time, effort, and expense, and promote[] uniformity of decision as to

   persons similarly situated, without sacrificing procedural fairness or

   bringing about other undesirable results.” Fed. R. Civ. P. 23(b) Adv.

   Comm. Note. To this end,

         [i]n discerning whether a putative class meets the
         predominance inquiry, courts are to assess the legal or factual
         questions that qualify each class member’s case as a genuine
         controversy, and assess whether those questions are subject
         to generalized proof, and thus applicable to the class as a

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         whole. If the same evidence will suffice for each member to
         make a prima facie showing, then it becomes a common
         question. The plaintiffs need not prove that every element can
         be established by classwide proof, but the key is to identify the
         substantive issues that will control the outcome.
   In re FCA, 334 F.R.D. at 107 (quoting Sandusky Wellness Ctr., LLC, 863

   F.3d at 466–68) (emphasis in original) (internal citations omitted).

         The ascertainability requirement, on the other hand, is “implied”

   by the rule. Sandusky Wellness Ctr., LLC, 863 F.3d at 466. Under this

   requirement, Class Plaintiffs must show “that the members of the class

   [are] capable of specific enumeration.” Cole v. City of Memphis, 839 F.3d

   530, 542 (6th Cir. 2016) (emphasis in original) (internal citations

   omitted). Such a showing is required for (b)(3) class certification because,

   “unlike (b)(1) and (b)(2) classes, (b)(3) class members are entitled to notice

   and are able to opt-out of the class.” Id. at 541.

         In this case, Class Plaintiffs cannot demonstrate that their

   professional negligence cause of action as a whole is appropriate for Rule

   23(b)(3) class certification for any of the proposed subclasses. Class

   Plaintiffs’ professional negligence claim requires that they demonstrate

   that: (1) LAN and VNA owed a duty to Class Plaintiffs; (2) LAN and VNA

   breached that duty; (3) LAN’s and VNA’s breach was the but-for and

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   proximate cause of harm to Class Plaintiffs; and (4) Class Plaintiffs

   suffered damages as a result. See Haliw v. Sterling Heights, 464 Mich.

   297, 309–10 (2001). While the Court agrees with Class Plaintiffs that

   there are certain factual questions and threshold liability issues

   pertaining to professional negligence that are common to the proposed

   Classes as a whole—and that will be discussed in the section analyzing

   Rule 23(c)(4) issues class certification—individualized issues and

   defenses overwhelm the cause of action and defeat the predominance and

   superiority requirements, rendering Rule 23(b)(3) damages class

   certification improper. Because Class Plaintiffs can show neither

   predominance        nor   superiority,    the   Court   declines   to   address

   ascertainability.

                  i. Predominance

         To satisfy the predominance requirement, Class Plaintiffs must

   demonstrate that “questions of law or fact common to class members

   predominate over any questions affecting only individual members.” Fed.

   R. Civ. P. 23(b)(3). “To meet the predominance requirement, a plaintiff

   must establish that issues subject to generalized proof and applicable to

   the class as a whole predominate over those issues that are subject to


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   only individualized proof.” Randleman v. Fidelity Nat’l Title Ins. Co., 646

   F.3d 347, 352–53 (6th Cir. 2011). In analyzing predominance, the Court

   must also consider affirmative individualized defenses that Defendants

   could put forward which could “affect[] the individuals in different ways.”

   See Ortiz, 527 U.S. at 844 n.20 (citing Fed. R. 23(b)(3) Adv. Comm. Notes).

         The Sixth Circuit has established that “substantial, individual

   inquiries to determine liability under [Class Plaintiffs’] theory of the case

   and class definition [] are incompatible with the predominance

   requirement of Rule 23(b)(3).” Randleman, 646 F.3d at 354. In

   Randleman, the court provided as an example of proper Rule 23(b)(3)

   certification a deceptive billing practices case in which, “if the billing

   practices were deceptive, they would be deceptive for all class members.”

   Id. Conversely, in Randleman, the Sixth Circuit upheld Rule 23(b)(3)

   decertification of a class because the district court could not determine

   class liability in one fell swoop. Instead, the determination required

   additional,   highly   individualized inquiry     amounting to      discrete

   consideration of each individual class member’s case: “[t]he only way to

   resolve the[] particular claims [at issue was] to consider what [the




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   defendant] knew about each individual transaction at the time it issued

   a policy by examining each individual transaction.” Id.

         There will be a great deal of individualized inquiry required at

   nearly every stage of legal analysis in this case. Accordingly, Class

   Plaintiffs cannot demonstrate that common questions predominate over

   individual questions such that any of their proposed Damages Subclasses

   are proper for Rule 23(b)(3) damages certification. As set forth below, the

   Court agrees with Class Plaintiffs that certain issues related to duty,

   breach, and causation—for example, the applicable standard of care in a

   professional engineering case, Engineering Defendants’ professional

   relationship with the City of Flint and with individuals who had access

   to its water supply, Engineering Defendants’ internal recommendations

   to the City, the information and knowledge Engineering Defendants had

   or did not have at the time they made their recommendations to the City,

   and the impact that Engineering Defendants’ actions had on corrosivity

   in the Flint municipal water supply—are best established through

   generalized sets of proof, apply to the Classes as a whole, and are

   therefore appropriate for issue-specific certification. But a far greater

   number of issues related to Defendants’ overall liability can “only be


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   determined on an individual basis.” Id. at 353. Indeed, key questions

   related to most of the elements of Class Plaintiffs’ professional negligence

   claim—duty, but-for and proximate causation, and harm—require

   individualized proof.

         As to duty, should subsequent proceedings in this case determine

   that Defendants owed a duty to entities or individuals who consumed or

   otherwise were impacted by Flint’s municipal water supply, class

   members would need to individually establish that they were members

   of that impacted group.

         As to causation, both but-for and proximate causation will require

   numerous individualized proofs from class members and will in turn be

   susceptible to numerous individualized defenses from Defendants. But-

   for causation requires demonstrating that Defendants’ actions (as

   opposed to some other cause) resulted in damage. See Haliw, 464 Mich.

   at 310. Accordingly, each class member bringing a property damage claim

   would need to testify to individual household water access and use during

   the relevant time period. And each class member bringing an economic

   loss claim would need to testify to operations and performance of their

   business during the relevant time period and establish that the business


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   lost profits as a result of Defendants’ actions and not some other reason,

   to which Defendants could introduce their own evidence in response.30

         Proximate causation requires “examining the foreseeability of

   consequences, and whether a defendant should be held legally

   responsible for such consequences.” Id. Accordingly, class members

   would need to introduce individualized evidence demonstrating that

   Defendants’ actions were a substantial factor contributing to their injury

   and that their injury was foreseeable. Defendants would then be

   permitted to introduce evidence related to numerous individualized

   defenses, including: that Defendants’ actions were insubstantial

   compared to the actions of others and that other causes superseded

   Defendants’ liability as to the individual class member. See Ross v.

   Glaser, 220 Mich. App. 183, 193 (1996).

         As to harm, class members would need to demonstrate that they

   suffered a cognizable injury through business earnings and/or property


         30 Were the Minors Damages and Injunctive Subclass not impermissible on

   other federal and state law grounds, each class member bringing a personal injury
   claim would need to submit proofs regarding their water exposure and introduce
   individual medical test results and/or property inspection results for the relevant
   time period. Defendants could respond to all of this evidence with their own
   individualized medical, property inspection, and expert evidence to establish that
   their actions were not the but-for cause of the individual alleged harm.
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   records, to which Defendants could introduce individualized rebuttal

   evidence.

         Class Plaintiffs’ response to the prevalence of these individualized

   issues is repeated insistence that the “circumstances” of class members’

   exposure were “the same”: the tainted water was “delivered to their taps”

   and “Class Plaintiffs’ experts have explained the well-documented effects

   of such exposure.” (ECF No. 1581, PageID.60837.) As set forth in the

   section of this Opinion discussing issues certification pursuant to Rule

   23(c)(4), see infra at 118, the Court agrees with Class Plaintiffs that

   common evidence may appropriately establish aspects of the duty,

   breach, and causation inquiries. For this reason, issue certification is

   appropriate in this case.

         However, as Class Plaintiffs acknowledge, “statistics [cannot] mask

   individual issues.” (Id.) This is the great difficulty in proceeding as a class

   in mass tort cases: while one tragic event may be the apparent genesis of

   harm for many individuals, questions related to that one common event

   are quickly outnumbered by “significant questions, not only of damages,

   but of liability and defense of liability, . . . affecting the individuals in

   different ways.” 1 McLaughlin on Class Actions § 5:41 (17th ed. 2020). It


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   is for this reason that “the overwhelming majority of post-Amchem

   decisions in federal and state court have rejected class certification in

   mass tort and related property damage cases irrespective of the claims

   asserted by plaintiffs.” Id.

         In this case, the overwhelming presence of individual issues in this

   case defeats the predominance requirement for class certification under

   Rule 23(b)(3). “While the need to prove damages or establish class

   membership on an individual basis is not fatal to class certification[,] . . .

   substantial, individual inquiries to determine liability under [Class

   Plaintiffs’] theory of the case and class definition [] are incompatible with

   the predominance requirement of Rule 23(b)(3).” Randleman, 646 F.3d at

   353–54.

                  ii. Superiority

         To satisfy the Rule 23(b) superiority requirement, Class Plaintiffs

   must demonstrate that “a class action is superior to other available

   methods for fairly and efficiently adjudicating the controversy.” Fed. R.

   Civ. P. 23(b)(3). Relevant factors in this inquiry include: (1) the interests

   of the class members in individually controlling separate actions; (2) the

   extent and nature of the litigation already begun by members of the class;


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   (3) the desirability of concentrating the litigation in a particular forum;

   and (4) the likely difficulties in managing a class action. Id.

         In this case, the first three factors together weigh moderately in

   favor of certification of the proposed Rule 23(b)(3) Subclasses. However,

   as with the predominance element, the overwhelming number of

   individualized inquiries in this case—and the resulting manageability

   difficulties that would ensue—render the Rule 23(b)(3) class vehicle an

   inferior method for adjudicating this controversy.

         The first factor—the class members’ interests in individually

   controlling separate actions—is largely a wash. As the Court

   acknowledged in the Preliminary Settlement Approval Order, at this

   point in the litigation, “individuals seeking individualized relief either

   already chose to file their own complaints or hire individual counsel to

   address their claims—as evidenced by the Individual Cases.”31 (ECF No.

   1399, PageID.54448.) And as the Sixth Circuit noted in a different case,


         31 In the Preliminary Settlement Approval Order, the Court found that this

   factor weighed in favor of certification “[f]or the purposes of settlement.” (ECF No.
   1399, PageID.54447.) Unlike in the class certification settlement context—where the
   guarantee of settlement recovery mitigates the presumption that class members are
   more likely to individually litigate high-value cases—there is no guarantee of
   recovery in this case, which adds a thumb on the scale against class certification for
   this factor.
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   “any class member who wishes to control his or her own litigation may

   opt out of the class under Rule 23(c)(2)(B)(v).” In re Whirlpool Corp., 722

   F.3d at 861. Additionally, while the high-value personal injury claims

   potentially at issue in this case are “not the types of awards that would

   preclude individual class members from seeking relief through

   litigation,” Pipefitters Local 636 Ins. Fund v. Blue Cross Blue Shield of

   Mich., 654 F.3d 618, 632 (6th Cir. 2011) (holding that individual damage

   awards exceeding $280,000 favor individual litigation), Class Plaintiffs

   have compellingly argued that, “[a]lthough each Class members’

   damages are significant, that number still pales in comparison to the cost

   of bringing an individual case against these well-funded and numerous

   Defendants.”32 (ECF No. 1207, PageID.34518–34519 (suggesting that the



         32 VNA argues that “the incremental cost for any individual plaintiff to bring

   suit is lower than in a typical individual action” due to shared discovery “[u]nder the
   coordinated case management order” and simplified pleadings in individual cases.
   (ECF No. 1369, PageID.45451.) However, Class Plaintiffs point out that the
   maintenance of these individual cases may only be economically feasible “because
   some counsel ha[ve] been retained by hundreds or even thousands of individuals,”
   and “[i]n that way, the individual cases are operating much like class actions,
   amalgamating cases and pursuing common claims for damages for a large number of
   claimants.” (ECF No. 1207, PageID.34519.) Given one coordinated form of suit—class
   action—versus another—individual litigation with shared counsel under a
   comprehensive case management plan—the Court will not find superiority defeated
   by the mere fact that thousands of litigants have deemed each option to be attractive
   in this case.
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   litigation costs and attorney fees expended by Class Counsel “already

   conservatively number in the tens of millions of dollars”).) In short, at

   this stage in the proceedings—with class certification and individual

   cases having proceeded in parallel for five years—the Court finds that

   potential class members who are interested in vindicating their

   individual interests may do so by opting out of the proposed Rule 23(b)(3)

   Damages Subclass and that the potential costs of individual versus class

   litigation are a relative wash after years of parallel proceedings.

   Therefore, this factor neither helps nor hurts the case for superiority.

         Second, the extent and nature of class members’ litigation in this

   case weighs in favor of certification. As Class Plaintiffs aptly stated,

   “[t]his is not a case in which individual plaintiffs have litigated the case

   for years and then putative Class Counsel swoops in and attempts to

   certify a class late in the proceedings.” (ECF No. 1581, PageID.60889.)

   To the contrary, the current iteration of this case represents the

   consolidation of many, many lawsuits—some of which were initially

   conceived as individual suits and some of which were initially conceived

   as classes. As the Court has previously found, Class Representatives and

   Class Counsel have been litigating this case for over five years in a suit


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   that has involved “extensive motion practice, numerous appeals, and

   petitions for certiorari filed with the United States Supreme Court. The

   docket on this consolidated case shows over [1,900]33 filings and is rising

   daily. In short, this case has been zealously litigated [as a prospective

   class action] already, by a team of national and local firms on all sides.”

   (ECF No. 1399, PageID.54448.) While Engineering Defendants correctly

   point out that the individual actions in this case are closer to trial than

   the putative class action, this fact is not relevant to the superiority

   inquiry. Rule 23(b)(3)(B) asks the Court to consider “the extent and

   nature of any litigation [] already begun by class members,” and the

   extensive nature of the class litigation in this case weighs in favor of

   superiority being met.

          The third factor—the desirability of concentrating the litigation in

   a particular forum—is also a wash. All federal and state litigation

   concerning the Flint Water Cases has been centralized in the Genesee

   County Circuit Court, the Michigan Court of Claims, or the Eastern

   District of Michigan. The cases will be concentrated in these fora

   regardless of whether the cases proceed individually or as a class action.


         33 As of the date of this Opinion and Order.

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         Finally, as to the manageability of the litigation, this fourth factor

   weighs heavily against class certification. For the reasons previously

   stated, individualized questions in this case overwhelm the common

   ones. “Where many individual inquiries are necessary, a class action is

   not a superior form of adjudication.” Young v. Nationwide Mut. Ins. Co.,

   693 F.3d 532, 545 (6th Cir. 2012). In Pipefitters Local 636 Ins. Fund, the

   Sixth Circuit found that a Rule 23(b)(3) damages class action did not

   meet the superiority requirement, even when it would resolve a “central

   legal claim,” because “the district court [] would be required to conduct

   individualized inquiries” for “550 to 875 class members.” 654 F.3d at 631

   (quoting approvingly the magistrate judge’s determination that there

   was a “threshold factual issue specific to each and every class member,

   requiring the court to make so many individualized determinations as to

   proposed class members in order to determine ERISA fiduciary status,

   such that a class action could not be a superior form of adjudication”

   (internal citations omitted)). In a case such as this one with some common

   issues, but with enough individualized issues that proceedings will

   necessarily devolve into mini-trials regardless of the litigation vehicle,




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   the question then becomes: What vehicle is most appropriate for

   resolution of the suit?

         When considering the Rule 23(b)(3) superiority analysis, “[t]he

   district court should also compare other means of disposing of the suit to

   determine if a class action ‘is sufficiently effective to justify the

   expenditure of the judicial time and energy that is necessary to

   adjudicate a class action and to assume the risk of prejudice to the rights

   of those who are not directly before the court.’” Id. at 630 (quoting 7AA

   C. Wright, A. Miller, & M. Kane, Federal Practice & Procedure § 1779 (3d

   ed. 2010)). Possible alternatives to the proposed litigation class include

   “joinder, intervention, consolidation, a test case, and an administrative

   proceeding.” Id. at 631 (internal citation omitted). In this case, there is

   an additional alternative to a Rule 23(b)(3) class, which is a Rule 23(c)(4)

   issues class that would resolve common issues and allow individual suits

   to then proceed as class members see fit to litigate them. Cf. id. at 631–

   32 (chiding the district court for failing to consider, in its Rule 23(b)(3)

   superiority analysis for a case with many individualized issues, a solution

   that would have resolved “the central legal issue” in such a way as to




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   allow “other potential class members [to] then decide whether to pursue

   an individual suit”).

         Class Plaintiffs argue that, due to the procedures set forth in their

   three-phase trial plan, “managing a class action is no more cumbersome

   than pursuing the bellwether plan.” (ECF No. 1581, PageID.60891.)

   However, Class Plaintiffs acknowledge that this trial plan is “dependent

   on the Court certifying the[ir] four” proposed Classes and Subclasses34,

   which the Court cannot do. (See id. at PageID.60889.) The superior

   method for moving the litigation forward—certifying two Rule 23(c)(4)

   issues classes, as discussed in the next section—better comports with

   Class Plaintiffs’ reasoning regarding the manageability of trial than

   certifying multiple Rule 23(b)(3) damages classes:

         Arguably, Class Plaintiffs’ trial plan is more manageable
         [than the bellwether trial process], because it will address the
         elements of duty, breach, and aspects of causation upfront for
         the entire Class, and those issues will be resolved for all
         parties in a single trial. In the bellwether cases, by contrast,
         these same elements will be addressed once for the children
         in the first bellwether and then again for the adults in the
         second bellwether.




         34 Now five, with the addition of the proposed VNA Issues Subclass. (See ECF

   No. 1829.)
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   (Id. at PageID.60891–60892.) Resolving the common issues in this case

   to streamline individual adjudications is precisely what Rule 23(c)(4)

   issues classes will accomplish. For the reasons discussed previously and

   in the next section, a Rule 23(b)(3) class action is not the superior method

   for adjudicating the claims at issue here.

                   iii.       Ascertainability

           In addition to the predominance and superiority requirements,

   “Rule     23(b)(3)     classes   must   meet   an   implied   ascertainability

   requirement.” Sandusky Wellness Ctr., LLC, 863 F.3d at 466. Under this

   requirement, Class Plaintiffs must show “that the members of the class

   [are] capable of specific enumeration.” Cole, 839 F.3d at 542 (internal

   citations omitted).

           Because Class Plaintiffs do not show that the proposed Rule

   23(b)(3) Damages Subclasses meet either the predominance or

   superiority standards, the Court need not address the implied

   ascertainability requirement in concluding that it cannot certify Class

   Plaintiffs’ proposed Damages Subclasses.




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            G. Certification of the Rule 23(c)(4) Issues Classes

                  i. Introduction

         As previously discussed, Class Plaintiffs have demonstrated that

   all proposed classes meet the Rule 23(a) prerequisites to class

   certification. For the proposed Issues Subclasses, the next step is to

   determine whether the Rule 23(c)(4) issues requirements are met. See

   Fed. R. Civ. P. 23(c)(4). The Court will additionally discuss, and dismiss,

   a potential Seventh Amendment concern—specific to Rule 23(c)(4) issues

   classes—that Defendants and Individual Plaintiffs raise in their briefing.

         Issues classes derive from Federal Rule of Civil Procedure 23(c)(4),

   which is entitled “Particular Issues.” This rule states that, “[w]hen

   appropriate, an action may be brought or maintained as a class action

   with respect to particular issues.” Fed. R. Civ. P. 23(c)(4). Issue

   certification is appropriate “where common questions predominate

   within certain issues and where class treatment of those issues is the

   superior method of resolution.” Martin, 896 F.3d at 413.

         Class Plaintiffs request that, should the Court “decide[] that certain

   aspects of the claims in this matter are not appropriate for class-wide

   resolution, for those subsections of the Class for whom the Court does not

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   choose to certify a damages class under 23(b)(3), the Court should certify

   an issues class to address issues pertaining to Defendants’ liability.”

   (ECF No. 1207, PageID.34536–34537.) The two prospective Rule 23(c)(4)

   Issues Classes that the Court will consider for certification are:

         Multi-Defendant Issues Class
         All persons and entities who, for any period of time between
         February 4, 2015 and October 16, 2015, were exposed to or
         purchased drinking water supplied by the City of Flint, owned
         real property in the City of Flint, or owned or operated a
         business in the City of Flint.
         * “Exposure” is defined to include ingestion (either through
         drinking or consuming foods prepared with the drinking
         water), bodily contact with the water (such as by way of
         bathing), and property contact with the water (through
         residential plumbing or other appliances).

         * “Persons” is defined to include only those individuals who
         have reached the age of majority as of the date of the class
         notice.

         LAN Issues Subclass
         All persons and entities who, for any period of time between
         April 25, 2014 and October 16, 2015, were exposed to or
         purchased drinking water supplied by the City of Flint, owned
         real property in the City of Flint, or owned or operated a
         business in the City of Flint.
         * “Exposure” is defined to include ingestion (either through
         drinking or consuming foods prepared with the drinking
         water), bodily contact with the water (such as by way of
         bathing), and property contact with the water (through
         residential plumbing or other appliances).
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         * “Persons” is defined to include only those individuals who
         have reached the age of majority as of the date of the class
         notice.

         Class    Plaintiffs    propose     the    following    questions      for

   certification as to the Issues Classes35:

      Issue 1: Did Defendants’ contracts with the City create a duty of
      care to third parties, and if so, what was the scope of that duty?
      Issue 2: What is the applicable standard of care in a professional
      engineering case?
      Issue 3: If Defendants’ contracts created a duty of care to third
      parties, did Defendants breach that duty by failing to provide
      appropriate advice to the City of Flint regarding treating the
      water?
      Issue 4: Did Defendants’ conduct cause corrosive water
      conditions in the Flint water distribution system?
      Issue 5: What is Defendants’ role in creating, exacerbating,
      and/or prolonging the contamination of the City’s water supply,
      including their involvement in the decisions to switch to the Flint
      River as a water source, refrain from using corrosion control at
      the Flint Water Treatment Plant (“FTWP”), and conceal
      information related to the safety of the City’s water supply?
      Issue 6: Were the corrosive water conditions allegedly caused by
      Defendants capable of causing harm to Flint residents, property,
      and businesses?
      Issue 7: To what extent were other actors at fault for causing

         35 Class Plaintiffs initially grouped some of these proposed questions together.

   The Court has separated each individual question and edited each one slightly for
   clarity.
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      corrosive water conditions in the City water distribution system,
      and how should fault be allocated among all those responsible?
      Issue 8: Was it foreseeable to Defendants that their conduct
      would cause corrosive water conditions in the City water system?
      Issue 9: What, if any, precautions should Defendants have taken
      to prevent the resulting harm to human health and property?


   (ECF Nos. 1581, PageID.60799–60800; 1829, PageID.65285.)

         For the following reasons, the Court certifies these nine questions

   for the Multi-Defendant and LAN Issues Classes. These questions

   address core issues related to the factual underpinnings of Defendants’

   involvement in the Flint Water Crisis and directly address aspects of

   duty, breach, and causation in Class Plaintiffs’ professional negligence

   claim.

                  ii. Analysis

         In 2018, the Sixth Circuit issued a detailed opinion in Martin v.

   Behr Dayton Thermal Products LLC discussing the propriety of issues-

   class certification. Like Class Plaintiffs’ case, Martin was a toxic tort

   class action. In Martin, individuals in an Ohio neighborhood alleged that

   defendants Chrysler, Behr, and Aramark slowly released carcinogenic

   chemicals into the groundwater through two separate plumes “over a

   period of many years while the[ defendants] operated their respective
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   automotive and dry cleaning facilities.” 896 F.3d at 408. The district court

   denied the plaintiffs’ motion for class certification writ large under

   Federal Rule of Civil Procedure 23(b)(3) but certified seven issues for

   class treatment under Federal Rule of Civil Procedure 23(c)(4). The Sixth

   Circuit affirmed this decision. Id. The issues certified by the district court

   were:


           Issue 1: Each Defendant’s role in creating the contamination
           within their respective Plumes, including their historical
           operations, disposal practices, and chemical usage;

           Issue 2: Whether or not it was foreseeable to Chrysler and
           Aramark that their improper handling and disposal of TCE
           and/or PCE could cause the Behr-DTP and Aramark Plumes,
           respectively, and subsequent injuries;

           Issue 3: Whether Chrysler, Behr, and/or Aramark engaged in
           abnormally dangerous activities for which they are strictly
           liable;

           Issue 4: Whether contamination from the Chrysler-Behr
           Facility underlies the Chrysler-Behr and Chrysler-Behr-
           Aramark Class Areas;

           Issue 5: Whether contamination from the Aramark Facility
           underlies the Chrysler-Behr-Aramark Class Area;

           Issue 6: Whether Chrysler and/or Aramark’s contamination,
           and all three Defendants’ inaction, caused class members to
           incur the potential for vapor intrusion; and


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         Issue 7: Whether Defendants negligently failed to investigate
         and remediate the contamination at and flowing from their
         respective Facilities.

   Id. at 410. In holding that certification of these seven issues was proper,

   the Sixth Circuit endorsed what it referred to as the “broad view” of Rule

   23(c)(4) issues-class certification, which entails “apply[ing] the Rule

   23(b)(3) predominance and superiority prongs after common issues have

   been identified for class treatment under Rule 23(c)(4).” Id. at 411. In

   other words, the Sixth Circuit instructs that particular issues are

   appropriate for issues-class certification when they satisfy Rule 23(b)(3)’s

   predominance and superiority requirements. Id. at 413. Importantly, the

   broad view permits using Rule 23(c)(4) even where—as here—

   “predominance has not been satisfied for the cause of action as a whole.”36

   Id. at 411. Further, “certification may remain ‘proper’ even if ‘important

   matters’ such as actual injury, causation, and damages will have to be

   tried separately.” Id. at 415. Additionally, certification of certain issues



         36  The Sixth Circuit contrasted the broad view it adopted with two other
   interpretations of Rule 23(c)(4): (1) the “narrow view,” which “prohibits issue classing
   if predominance has not been satisfied for the cause of action as a whole”; and (2) the
   “functional, superiority-like analysis,” which declines to “adopt[] either the broad or
   the narrow view” and instead evaluates whether issue certification would “increase
   the efficiency of the litigation.” Martin, 896 F.3d at 412.
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   may be appropriate even when “resolution of the certified issues will not

   resolve the question of Defendants’ liability either to the class as a whole

   or to any individual therein” as long as “resolving the certified issues will

   go a long way toward doing so.” Id. at 416.

         Though Martin enshrines in Sixth Circuit jurisprudence the lowest

   existing threshold for issue-class certification, it also cautions that courts

   should not “rely on issue certification where there exist only minor or

   insignificant common questions, but instead where the common

   questions render issue certification the superior method of resolution.”

   Id. at 413. To this end, class treatment of the certified issues should

   “materially advance the litigation.” Id. at 416.

         For the following reasons, the nine issues proposed by Class

   Plaintiffs and identified above satisfy the Rule 23(b)(3) predominance

   and superiority standards and will materially advance Class Plaintiffs’

   litigation. Moreover, resolution of these issues will not create potential

   conflicts with the Seventh Amendment’s Reexamination Clause, as

   Defendants and Individual Plaintiffs contend. Accordingly, Rule 23(c)(4)

   certification of the Multi-Defendant and LAN Issues Classes is

   appropriate.


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                            1. Predominance

         Rule 23(b)(3) predominance asks whether “the questions of law or

   fact common to class members predominate over any questions affecting

   only individual members.” Fed. R. Civ. P. 23(b)(3). The Sixth Circuit has

   explained how the predominance inquiry works in the context of issues

   certification:

         An individual question is one where members of a proposed
         class will need to present evidence that varies from member
         to member, while a common question is one where the same
         evidence will suffice for each member to make a prima facie
         showing or the issue is susceptible to generalized, class-wide
         proof. The predominance inquiry asks whether the common,
         aggregation-enabling, issues in the case are more prevalent or
         important than the non-common, aggregation-defeating,
         individual issues. When one or more of the central issues in
         the action are common to the class and can be said to
         predominate, the action may be considered proper under Rule
         23(b)(3) even though other important matters will have to be
         tried separately, such as damages or some affirmative
         defenses peculiar to some individual class members.

   Martin, 896 F.3d at 414 (quoting Tyson Foods, Inc. v. Bouaphakeo, 577

   U.S. 442, 452 (2016)).

         In Martin, the Sixth Circuit concluded that the district court’s

   certification of seven different class issues was appropriate because



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         the district court certified only issues capable of resolution
         with generalized, class-wide proof. All seven of these issues
         are questions that need only be answered once because the
         answers apply in the same way to each property owner within
         the plumes. Expert evidence will be central to resolving these
         seven issues, [and s]uch evidence will bear on all of the
         property owners within each plume in the same way. In
         addition, issues 1, 2, 3, 6, and 7 turn on each Defendant’s
         knowledge and conduct, which need only be established once
         for each plume.

   Id. Similar reasoning holds true in this case. None of the nine proposed

   questions require individualized inquiries as to any Class Plaintiffs, and

   all questions may be resolved with common evidence.

         Defendants and Individual Plaintiffs advance variations on the

   argument that “common questions do not predominate [in this litigation],

   even within the limited issues proposed by [Class Plaintiffs because] the

   respective Defendants’ conduct and duty is not uniform with respect to

   all class members.” (See, e.g., ECF No. 1392, PageID.54102.) While these

   parties are correct that Defendants’ liability to Class Plaintiffs cannot be

   determined writ large because of individualized questions that

   predominate within the lawsuit, “predominance problems within a

   liability-only class do not automatically translate into predominance

   problems within an issue class.” Martin, 896 F.3d at 415. Here, the nine

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   issues to be certified carve out major aspects of Defendants’ alleged duty,

   breach, and causation that “need only be answered once because the

   answers apply in the same way to each [class member].” Id. at 414. These

   issues involve other actors potentially contributing to the Flint Water

   Crisis; Defendants’ knowledge; Defendants’ relationship and conduct

   with the City of Flint; the corrosive water situation in the City municipal

   plumbing system; and core threshold legal questions bearing on third-

   party duties of care in professional negligence cases. For these specific

   nine issues, “[e]xpert evidence will be central to resolving the[m], [and

   s]uch evidence will bear on all [class members] in the same way.” Id.

         Accordingly, the predominance standard of Rule 23(b)(3) is satisfied

   as to the nine issues identified above.

                           2. Superiority

         Rule 23(b)(3) superiority asks whether a “class action is superior to

   other available methods for fairly and efficiently adjudicating the

   controversy.” Fed. R. Civ. P. 23(b)(3). It aims to “achieve economies of

   time, effort, and expense, and promote uniformity of decision as to

   persons similarly situated, without sacrificing procedural fairness or

   bringing about other undesirable results.” Martin, 896 F.3d at 415


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   (quoting Amchem, 521 U.S. at 615). The Sixth Circuit explained in

   Martin how the superiority inquiry works in the context of issues

   certification:

         To determine whether a class action is the superior method
         for fair and efficient adjudication, the district court should
         consider the difficulties of managing a class action. The
         district court should also compare other means of disposing of
         the suit to determine if a class action is sufficiently effective
         to justify the expenditure of the judicial time and energy that
         is necessary to adjudicate a class action and to assume the
         risk of prejudice to the rights of those who are not directly
         before the court. Additionally, the court should consider the
         value of individual damage awards, as small awards weigh in
         favor of class suits.

   Id. at 415–16 (quoting Pipefitters Local 636 Ins. Fund, 654 F.3d at 630–

   31). The Sixth Circuit also noted in Martin that the superiority inquiry

   permits “[c]ourts [to] consider the related nonexhaustive factors set forth

   in Rule 23(b)(3) itself”—the class members’ interests in individually

   controlling the case, the extent and nature of any relevant litigation

   already begun by class members, the desirability of concentrating the

   claims in a particular forum, and any likely difficulties in managing the

   class action—though the Sixth Circuit did not consider these factors in

   its own decision. Id. (citing Fed. R. Civ. P. 23(b)(3)).


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         Defendants and Individual Plaintiffs’ primary argument opposing

   issues-based superiority is that an issues class would be “inefficient” and

   would not “meaningfully advance the litigation.” Specifically, Individual

   Plaintiffs argue that

         [i]n this case, the limited issues identified by Class Counsel
         are precisely the kind of unhelpful questions that would not
         meaningfully advance the litigation. A trial on the
         Governmental Defendants’ knowledge or on the Engineering
         Defendants’ negligence in the abstract is unlikely to
         substantially aid resolution of the substantial issues on
         individualized exposure, liability, causation, and injury.
         When the enormous scope of this matter is viewed in
         combination with the number of individual trials that would
         still be required for individualized issues, it is clear that
         resolution of the limited issues identified by Class Counsel
         would barely make a dent in the resolution of the litigation.

   (ECF No. 1392, PageID.54104–54105.) VNA also argues that an issues

   class is not the superior method of litigation because there would be

   “evidentiary overlap between common and individual issues”37 that



         37 VNA provides the following example of possible evidentiary overlap:



         In a class trial, to prove breach, [Class] Plaintiffs’ experts likely would
         testify that VNA should have given more forceful advice because VNA
         should have recognized that not doing so likely would result in increased
         damage to the Flint water system. Then, in an additional trial, to prove
         causation and for allocation of fault, [Class] Plaintiffs likely would
         present essentially the same evidence to argue that VNA’s failure to give
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   would “more than offset any benefit from resolving the common issues

   [Class] Plaintiffs identify on a class-wide basis.” (ECF No. 1367,

   PageID.43815.)

         These arguments are unavailing. While Defendants and Individual

   Plaintiffs are correct that it is theoretically possible for some class-wide

   evidence to be duplicative of later evidence used to prove individualized

   issues, it is not clear that duplicative proofs alone render individualized

   litigation superior. This is particularly true when the class-wide issues

   need only be addressed once, as opposed to duplicating the common issues

   in every individualized case. The significant efficiency gains that will

   result from addressing class-wide issues only once more than satisfy the

   standard set forth in Martin, in which the court squarely addressed

   VNA’s and Individual Plaintiffs’ concerns in this way:

         [R]esolution of the certified issues will not resolve the
         question of Defendants’ liability either to the class as a whole
         or to any individual therein[, but] resolving the certified
         issues will go a long way toward doing so, and this is the most




         more forceful advice in fact resulted in increased damage to the Flint
         water system. Accordingly, there would be little, if any, efficiency gains
         from certifying an issue class in this case.

   (ECF No. 1367, PageID.43815.)
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         efficient way of resolving the [] issues that the district court
         has certified.
         ...

         Even if the class members brought suit individually, the seven
         certified issues would need to be addressed in each of their
         cases. Resolving the issues in one fell swoop would conserve
         the resources of both the court and the parties. Class
         treatment of the seven certified issues will not resolve
         Defendants’ liability entirely, but it will materially advance
         the litigation. The issue classes therefore satisfy Rule
         23(b)(3)’s superiority requirement.

   896 F.3d at 416.

         The Rule 23(b)(3) superiority factors also weigh in favor of

   certifying the nine issues identified above. See Fed. R. Civ. P. 23(b)(3). As

   the Court previously explained, the first three factors—class members’

   interests in individually controlling separate actions, the extent and

   nature of class members’ litigation in this case, and the desirability of

   concentrating the litigation in a particular forum—together weigh in

   favor of class certification. See supra at 110-14. The Court additionally

   notes that class members’ interests in individually controlling separate

   actions are lessened in the issues context because the issues to be

   certified do not in any way bear on individual circumstances, and issues

   resolution will still allow “everyone enmeshed in the dispute [to] have


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   [their] own day in court and be represented by a lawyer of [their] choice”

   once issues common to the class have been resolved. 18 C. Wright, A.

   Miller, & M. Kane, Federal Practice & Procedure § 1783 (3d ed. 2020).

         As to the manageability factor, issues-based resolution of common

   claims will streamline litigation at both the class and individual levels by

   allowing the parties to dispute common, class-wide claims “in one fell

   swoop,” which will “conserve the resources of both the court and the

   parties” and render the Rule 23(c)(4) class the most manageable vehicle

   for adjudicating these issues. Martin, 896 F.3d at 416.

         Accordingly, the Rule 23(b)(3) requirement standard is satisfied as

   to the nine issues set forth above.

                  iii.    The Seventh Amendment’s Reexamination
                      Clause

         Defendants and Individual Plaintiffs argue that issues certification

   could create potential conflicts with the Reexamination Clause of the

   Seventh Amendment. The Reexamination Clause provides that “no fact

   tried by a jury[] shall be otherwise re-examined in any Court of the

   United States, than according to the rules of the common law.” U.S.

   Const. amend. VII. The Sixth Circuit has explained that constitutional

   defenses to issues classes also “incorporate[] the Rules Enabling Act,
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   which states that procedural rules like Rule 23 ‘shall not abridge,

   enlarge, or modify any substantive right.’” Martin, 896 F.3d at 416–17

   (citing 28 U.S.C. § 2072(b)).

         The Manual for Complex Litigation states that Rule 23(c)(4) classes

   may raise concerns under the Reexamination Clause because

         [a]n issues-class approach contemplates a bifurcated trial
         where the common issues are tried first, followed by
         individual trials on questions such as proximate causation
         and damages. A bifurcated trial must adequately present to
         the jury applicable defenses and be solely a class trial on
         liability. There is a split of authority on whether the Seventh
         Amendment is violated by asking different juries to decide
         separate elements of a single claim.

   Manual for Complex Litigation, Fourth, § 21.24. However, the Sixth

   Circuit has stated that, “if done properly, bifurcation [by issues class] will

   not raise any constitutional issues” so long as courts “divide issues

   between separate trials in such a way that the same issue is not

   reexamined by different juries.” Olden v. LaFarge Corp., 383 F.3d 495,

   509 n.6 (6th Cir. 2004). The Manual for Complex Litigation and Newberg

   on Class Actions also advise that proper case management can allay

   many Seventh Amendment concerns. See Manual for Complex Litigation,

   Fourth, § 22.755 (“Unless the decision of the first jury will provide


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   sufficient guidance to allow later juries to implement the first jury’s

   formal findings without confusion or uncertainty, issues cannot be

   certified. Use of special verdict forms can provide the specificity

   necessary for instructing a second jury as to the aspects of the litigation

   previously resolved. The forms should clearly distinguish among the

   possible interpretations of the first jury’s findings, to allow later juries to

   understand and apply those findings.”); 2 Newberg on Class Actions §

   4:92 (5th ed. 2010) (“[T]he Seventh Amendment does not seem to pose a

   significant obstacle to the use of issue classes, even in the mass tort

   context, so long as courts are careful to certify only those issues for class

   treatment that are sufficiently separable from individual issues so that

   trial of them alone may be had without injustice. This may be readily

   accomplished through the myriad case management tools at trial courts’

   disposal.” (internal citations omitted)).

         The parties’ Seventh Amendment concern is best summarized by

   VNA, which argues that

         breach, causation, and allocation of fault will [result in the]
         same evidence [overlapping] at multiple phases of the same
         cause of action before different juries, presenting a significant
         danger of confusion, reexamination, or both . . . [There is also
         a] serious risk that the second jury would reexamine the

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         findings of the first. [For example,] in finding breach, the first
         jury may have concluded that a reasonable engineer would
         have foreseen that the failure to recommend more forcefully
         that the City use corrosion controls would result in harm. The
         second jury then may revisit the issue in assessing whether
         VNA’s failure proximately caused the particular plaintiff’s
         harm, because proximate causation also depends on
         foreseeability of the harm. The second jury could conclude
         that VNA did not proximately cause the plaintiff’s harm
         because the harm was not foreseeable—effectively overruling
         the first jury’s conclusion that the harm was foreseeable, in
         violation of the Seventh Amendment.

   (ECF No. 1369, PageID.45486.)

         The Court agrees with the Sixth Circuit’s finding that Seventh

   Amendment concerns are speculative at the class certification stage of

   the proceedings. In Martin, the Sixth Circuit addressed these concerns

   as follows:

         At [class certification], the district court has not formalized
         any procedures for resolving either the common issues or the
         remaining individualized inquiries. The certification decision
         outlines one option, but the district court may ultimately find
         that another procedure better facilitates the fair resolution of
         Plaintiffs’ claims. Because the district court has not settled on
         a specific procedure, no constitutional infirmities exist at this
         time.

   896 F.3d at 417. Accordingly, the Seventh Amendment does not bar Rule

   23(c)(4) issues certification. Mindful of the Sixth Circuit’s guidance—as

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   well as conventional wisdom, see Manual for Complex Litigation, Fourth,

   § 22.755; 2 Newburg on Class Actions § 4:92 (5th ed. 2010)—that careful

   trial management can allay Seventh Amendment reexamination

   concerns, the Court intends to proceed with great care during trial. The

   Court welcomes the participation of the parties in formulating trial

   plans, jury instructions, and verdict forms that crystallize the applicable

   issues and clarify those already decided.

            H. Daubert Motions

         Class Plaintiffs rely on fourteen retained experts for their motion

   for class certification. (ECF No. 1207.) Defendants LAN and VNA filed a

   combined total of fifteen Daubert motions seeking to exclude all of them.

   (ECF Nos. 1371, 1372, 1373, 1374, 1376, 1377, 1378, 1379, 1380, 1381,

   1382, 1383, 1384, 1385, 1388.) On May 19, 2021, the Court heard oral

   argument regarding Defendants’ motions to exclude the testimony and

   reports of the two Class Plaintiffs’ experts whose testimony impacts the

   liability portion of the class certification motion: Dr. Larry Russell and

   Dr. Paolo Gardoni. (ECF Nos. 1373, 1382, 1386, 1388.) For the reasons

   set forth on the record at the May 19 hearing and in this Opinion and

   Order, the Court DENIES the Daubert motions as to Dr. Russell, (ECF


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   Nos. 1382, 1388), GRANTS IN PART AND DENIES IN PART the

   Daubert motions as to Dr. Gardoni, (ECF Nos. 1373, 1388), and DENIES

   AS MOOT the remaining Daubert motions. (ECF Nos. 1371, 1372, 1374,

   1376, 1377, 1378, 1379, 1380, 1381, 1383, 1384, 1385.)

                  i. Drs. Larry Russell and Paolo Gardoni

         For the reasons set forth on the record, all four Daubert motions

   pertaining to Drs. Russell and Gardoni are DENIED, with the exception

   of the following sentence in Dr. Gardoni’s report that was STRICKEN as

   improper speculation: “VNA failed to disclose that it believed that lead

   was currently being released into the water supply [because] VNA

   understood that releasing this information publicly would compromise its

   opportunity to be awarded a lucrative long-term operating contract.”

   (ECF No. 1208-114, PageID.37182.)

         The Court set forth its reasoning on the record during the hearing

   and incorporates that reasoning herein; however, a summary of the key

   factors taken into consideration is included here: First, at this early stage

   of the proceedings, the Court is not performing its typical Daubert role of

   gatekeeping for a jury, but is instead determining whether the proposed

   experts will assist the Court in making a pure determination of law.

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   Second, the Court is viewing the experts’ testimony not as a factual

   referendum on the merits of Class Plaintiffs’ case, but instead through

   the limited lens of whether the testimony and reports can be relied upon

   to establish that Class Plaintiffs’ claims are proper for class adjudication.

         As to the first point, the Court is mindful that the concerns

   animating traditional Daubert review—confusing the jury—do not exist

   when the Court is the sole trier of fact and law. The sole purpose of expert

   testimony is to “assist[] the trier.” See Fed. R. Evid. 702 Adv. Comm.

   Notes. “When opinions are excluded, it is because they are unhelpful and

   therefore superfluous and a waste of time.” Id. The Advisory Committee

   Notes to Federal Rule of Evidence 702 make clear that “rejection of expert

   testimony is the exception rather than the rule” and that “the trial court’s

   role as gatekeeper is not intended to serve as a replacement for the

   adversary system.” Id.

         There is no jury reviewing Class Plaintiffs’ motion for class

   certification; the Court is the only audience for the parties’ class

   certification arguments and their factual underpinnings. Accordingly,

   this stage of the proceedings is more akin to a bench trial than a jury




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   trial, and the Sixth Circuit has determined that Daubert proceedings are

   “largely irrelevant” in a bench trial:

         In Daubert, the Supreme Court held that district courts must
         act as “gatekeepers” to protect juries from misleading or
         unreliable expert testimony by assessing the reliability of the
         expert’s principles and methodologies used to reach the expert
         opinion or conclusion . . . [However, t]he “gatekeeper” doctrine
         was designed to protect juries and is largely irrelevant in the
         context of a bench trial.

   Deal v. Hamilton Cnty. Bd. of Educ., 292 F.3d 840, 851–52 (6th Cir. 2004).

   Heeding this guidance, a court in this District recently denied a Daubert

   challenge prior to a bench trial, concluding that “both motions in limine

   and Daubert challenges are inapplicable to bench trials [because] a

   Daubert challenge is used to ‘prevent the jury’ from hearing unreliable

   scientific evidence.” League of Women Voters of Mich. v. Benson, No. 17-

   14148, 2019 WL 8106155, at *1 (E.D. Mich. Jan. 15, 2019). “The proper

   course of action for this Court, therefore, is to admit the evidence and

   then afford it whatever weight the Court deems appropriate.” Id. (citing

   Deal, 392 F.3d at 852).

         As to the second point, the Court is mindful that Daubert review at

   the class certification stage is limited to determining whether the experts’

   testimony and reports will assist the class certification inquiry. The

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   recent case In re FCA US LLC Monostable Elec. Gearshift Ltg. is

   instructive on this point. In that case, the Honorable Judge David M.

   Lawson performed a full Daubert review at the class certification stage

   but “ke[pt] in mind . . . that the challenged testimony is not being offered

   to prove the merits of the plaintiffs’ claims, but only to establish that the

   merits of those claims properly can be adjudicated by means of collective

   litigation.” 382 F. Supp. 3d at 692 (denying both Daubert motions and

   emphasizing that it did so “through the lens of collective litigation”).

         As the Court made clear to the parties at oral argument, the

   “adversary system” has prevailed in the briefing for these Daubert

   motions. See Fed. R. Evid. 702 Adv. Comm. Notes. All parties submitted

   robust, helpful briefs, and Defendants have alerted the Court to the many

   flaws, as they see it, with the methodologies employed by Drs. Russell

   and Gardoni. As to Dr. Russell, LAN and VNA believe that (1) his

   chloride-sulfate mass ratio opinion is an unreliable device of his own

   creation; and (2) his failure to personally visit Flint and to inspect its

   plumbing render many of his opinions speculative and unreliable. (ECF

   Nos. 1382, 1388.) As to Dr. Gardoni, LAN and VNA believe that his

   opinions are unreliable and speculative because (1) he is not qualified to


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   offer his opinions regarding engineering ethics in a water-treatment case

   such as this one; (2) ethical opinions such as his are irrelevant to

   professional negligence cases such as this one; and (3) Dr. Gardoni

   blinded himself to evidence that did not support his position and “cherry-

   picked” ethical principles to bolster his conclusions. (Id.) LAN and VNA

   also express concern regarding the experts’ reliance on one another’s

   opinions in forming their own opinions regarding corrosion and ethical

   engineering. (Id.) The Court is familiar with Class Plaintiffs’ responses

   to these arguments.

         The Court extensively discussed, on the record, the reasons why it

   determined that the testimony and reports of Drs. Russell and Gardoni

   are sufficiently reliable to assist it in this class certification decision, with

   the exception of the one line stricken from Dr. Gardoni’s report. The

   Court has heard Defendants’ concerns and has carefully proceeded with

   its evaluation of and reliance upon the experts’ testimony and reports

   accordingly.

                  ii. All Other Class Certification Daubert Motions

         The remaining Daubert motions—regarding Class Plaintiffs’

   experts Dr. Alan Ducatman, Mr. R. Bruce Gamble, Dr. Panagiotis


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   Georgopoulos, Dr. Pierre Goovaerts, Dr. Howard Hu, Dr. Daniel Keating,

   Dr. David Keiser, Dr. Bruce Lanphear, Mr. David A. Pogorilich, Dr.

   Daryn Reicherter, Dr. Robert Simons, and Dr. Clifford Weisel—seek to

   disqualify expert opinion testimony and reports offered in support of

   certification of Class Plaintiffs’ proposed Minors Damages and Injunctive

   Subclass, Residential Property Damages Subclass, and Business

   Damages Subclass. Because the Court will not be certifying these

   Subclasses for the reasons previously set forth, and because the Court

   and does not rely on these experts in deciding class certification,

   Defendants’ motions are DENIED AS MOOT. (ECF Nos. 1371, 1372,

   1374, 1376, 1377, 1378, 1379, 1380, 1381, 1383, 1384, 1385.) Defendants

   LAN and VNA may revive their Daubert motions should Class Plaintiffs

   seek to rely on these experts at a later time.

      IV.   CONCLUSION

         IT IS ORDERED that Class Plaintiffs’ motion for class certification

   (ECF No. 1207) is GRANTED IN PART AND DENIED IN PART;

         IT IS FURTHER ORDERED that              Rhonda Kelso, on behalf of

   herself and her minor child, K.E.K., as well as Barbara and Darrell




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   Davis, are DESIGNATED as Representatives of the Multi-Defendant and

   LAN Issues Classes;

         IT IS FURTHER ORDERED that the request to designate all other

   class representatives is DENIED;

         IT IS FURTHER ORDERED that Theodore J. Leopold and Michael

   L. Pitt are appointed as Co-Lead Class Counsel pursuant to Federal Rule

   of Civil Procedure 23(g);

         IT IS FURTHER ORDERED that Interim Executive Committee

   members Stephen E. Morrissey, Paul F. Novak, Esther Berezofsky,

   Peretz Bronstein, and Teresa A. Bingman are appointed to serve the

   Multi-Defendant and LAN Issues Classes as formal members of the

   Executive Committee pursuant to Federal Rule Civil Procedure 23(g);

         IT IS FURTHER ORDERED that Defendants LAN’s and VNA’s

   Daubert motions as to Dr. Larry Russell (ECF Nos. 1382, 1388) are

   DENIED;

         IT IS FURTHER ORDERED that Defendants LAN’s and VNA’s

   Daubert motions as to Dr. Paolo Gardoni (ECF Nos. 1373, 1388) are

   GRANTED IN PART AND DENIED IN PART; and




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         IT IS FURTHER ORDERED that the remaining Daubert motions

   filed by Defendants LAN and VNA (ECF Nos. 1371, 1372, 1374, 1376,

   1377, 1378, 1379, 1380, 1381, 1383, 1384, 1385) are DENIED AS MOOT.

         IT IS SO ORDERED.

   Dated: August 11, 2021              s/Judith E. Levy
   Ann Arbor, Michigan                 JUDITH E. LEVY
                                       United States District Judge


                         CERTIFICATE OF SERVICE
         The undersigned certifies that the foregoing document was served
   upon counsel of record and any unrepresented parties via the Court’s
   ECF System to their respective email or First Class U.S. mail addresses
   disclosed on the Notice of Electronic Filing on August 11, 2021.
                                              s/William Barkholz
                                              WILLIAM BARKHOLZ
                                              Case Manager




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